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                          EXHIBIT 9
      Declaration of Cary Ichter – 02/20/24




PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST DEFENDANTS
                 CCBOER AND COUNSEL
      CGG, et al. v. Coffee Cty. Bd. of Elections and Registration
     United States District Court for the Southern District of Georgia
                    No: 5:23-mc-00001-LGW-BWC
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

COALITION FOR GOOD
GOVERNANCE and DONNA                           Civil Action No. 5:23-mc-00001-
CURLING,                                       LGW-BWC
Plaintiffs,                    In RE Subpoenas issued by the
                               United States District Court
v.                             For the Northern District of
                               Georgia, Atlanta Division,
COFFEE   COUNTY    BOARD    OF Civil Action File No. 1:17-CV-
ELECTIONS AND REGISTRATION,    2989-AT
Defendant.

                     DECLARATION OF CARY ICHTER

      Pursuant to 28 U.S.C. §174, I certify under penalty of perjury under the laws

of the United States of America that the following is true and correct:

      1.      My name is Cary Ichter. I am a managing member of Ichter Davis,

LLC (the “Firm”) and a member in good standing with the State Bar of Georgia. I

offer this Declaration on my personal knowledge to provide the Court in this matter

with information concerning services provided, costs advanced, and the value of the

service provided to Plaintiff Coalition for Good Governance (“CGG”) in the above-

captioned action.




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        2.   I graduated magna cum laude from the University of Georgia School

of law in 1984. I was admitted to the State Bar of Georgia the same year. I have

practiced law in Georgia full-time and continuously since then.

        3.   Following CCBOER’s production of a 311 page privilege log on

January 4, 2024, various members of CGG who were not abosorbed in matters

related to the upcoming trial of the Curling case performed an audit-like review of

entries on the log. On January 8, 2024, I sent an Excel spreadsheet to CCBOER’s

counsel, Ben Perkins, explaining that the spreadsheet identified [from the new log]

“80-something documents we have identified as plainly non-privileged.” A true and

correct copy of the January 4 email and the Excel spreadsheet are attached hereto as

Exhibits “A” and “B,” respectively.

        4.   I then went on to identify certain specific documents that I was seeking

the immediate production of and concluded: “These twenty-something examples of

non-privileged communications are illustrative of the communications on the

attached spread sheet. Please turn over these documents immediately. Please let me

know your intentions by January 9, 2024 (the first day or trial)….” See Exhibit A, at

p. 3.




                                         2
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      5.    With respect to the emails identified in my January 8, 2024 email, it

appears the claim of privilege was withdrawn with respect to each: 1

xREL000104721: Agreed privilege was waived in email dated January 12, 2024
(5:23 pm). See Exhibit C, at p. 3.

xREL000104756: Agreed privilege was waived in email dated January 12, 2024
(5:23 pm). See Exhibit C, at p. 3.

REL000064575: Produced as attachment to January 9, 2024 email (7:36 pm). See
Exhibit C, at p. 5.

xREL000064583: Produced as attachment to January 9, 2024 email (7:36 pm). See
Exhibit C, at p. 5.

xREL000062038: Agreed the document was not privileged and produced as
attachment to January 9, 2024 email (7:36 pm). See Exhibit C, at p. 5.

xREL0000075151.000.3—001.0 and xREL00000119591.000.3—001.0: Mr.
Perkins “agree[d] this email thread and its attachments are not privileged…[and
committed to retrieve these documents as soon as possible and provide them to you”
in email dated January 9, 2024 (7:36 pm) and produced said documents via sharefile
on January 10, 2024 at 5:21 pm. See Exhibit C, at p. 8.

xREL000061231: Mr. Perkins announced this was produced by email dated January
11, 2024 (8:17 pm). See Exhibit C, at p. 7.

xREL000074286: Mr. Perkins announced this was produced by email dated January
11, 2024 (8:17 pm). See Exhibit C, at pp. 7-8.




1
 A true and correct copy of the exchange of emails between Mr. Perkins and myself
in an email chain beginning December 26, 2023 and ending on January 29, 2024, is
attached hereto as Exhibit “C.”
                                         3
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       6.      On January 29, 2024, I identified twenty-five (25) documents from the

privilege log on which Charles Dial, a IT contractor for coffee County, was included

either as an author, a primary recipient, or a copied recipient. When advised that

these designations would be challenged, CCBOER’s counsel, Mr. Perkins,

responded by email dated January 29, 2024, stating that CCBOER did not “believe

we would have had a reason to reevaluate the privilege assertion as to those

documents.” See Exhibit C, at p. 1.

       7.      On January 29, 2024, Plaintiffs filed a motion for in camera review of

the 25 communications identified in the January 29 exchange of emails. (Doc. 51)

In response to the motion for in camera review, CCBOER did not defend the

designations and produced all 25 documents on February 9, 2024.

       8.      Attached hereto as Exhibit “D” are billing statements from my Firm to

CGG.        The billing statements list the tasks performed by myself and other

timekeepers in the Firm, the date on which the tasks were performed, the time it took

to perform each task, and the billing rate of each timekeeper. The tasks performed

by others in the Firm were performed at my direction and under my supervision.

       9.      The billing records attached hereto show that my Firm has billed CGG

$77,333.83 for work performed in connection with this action. That does not include

time for this motion or related activites.


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      10.    Ichter Davis LLC charged Coalition for Good Governance $625 and

$225 per hour for work performed in this action by myself and Ms. Jill Connors, my

paralegal, respectively. Ms. Connors is a lawyer, but she is not barred in the State of

Georgia.

      11.     In connection with a fee application in Curling v. Raffensberger, No.

17-cv-02989-AT (N.D. Ga.), Plaintiffs submitted the Declaration of Robert Remar,

a senior partner at Rogers & Hardin, in support of the rate claimed for my work in

that case, also $625. A copy of Mr. Remar’s Declaration in the Curling case is

attached hereto as Exhibit “D.” In my opinion, the above-described hourly rates

are well within the range charged by civil litigation firms for similar work by persons

of similar experience and ability. This opinion is based on my experience as a

litigator and managing partner of multiple civil litigation firms. My opinion is also

based on my knowledge of what friends and colleagues in the market charge.

      12.    I have reviewed the billing records in this matter for the tasks I

performed, as well as the tasks performed by Ms. Connors under my supervision.

Based on that review and my personal knowledge of the case, the total number of

hours devoted to the various tasks performed and reported in the attached were

reasonable, necessary and required.




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      13.   Based on my review of the billing records and my knowledge of the

case, the total amount of total fees and expenses incurred in performing the various

tasks reported were reasonable, necessary, and required.

      I certify under penalty of perjury under the laws of the United States of

America that the foregoing statements are true and correct.

Dated: February 20, 2024

                                      /s/ Cary Ichter
                                      ______________________________
                                      Cary Ichter, Esq.
                                      Georgia Bar No. 382515




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              Declaration of Cary Ichter
                        EXHIBIT A
                      01/08/24 Email Chain
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Subject:                       FW: Service of Privilege Log; Response to Request for Extension of Sanctions Motion
                               Deadline
Attachments:                   1.4.24 Not Priv. .xlsx



From: Cary Ichter
Sent: Monday, January 8, 2024 1:17 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: We have been reviewing the privilege log you provided. It has been quite an
undertaking. Who would have thought that a 17-item, three and one- half page privilege log
could morph into a 311-page document? Rather shocking to say the least.

I do not know if you actually looked at the log before producing it. If you did, I am sure you
know that there are many, many documents listed that do not indicate the slightest indicia
(based upon the description provided) of any privilege whatsoever. I have attached hereto for
your review and information an Excel spreadsheet of 80- something documents we have
identified as plainly non- privileged. Mind you, we are just getting started in our review. So,
these are not all the documents we will be asking you to produce. Also, given that the trial
starts on Tuesday, we ask that you produce these documents immediately.

Starting at the top, xREL000104721: Although CCBOER claim AC privilege, there is no attorney
identified in connection with this document. The document appears to be a communication
between non-clients. To the extent it reveals the content of an AC commun ication, the privilege
has been waived. Please produce the document and all others like it.

xREL000104756: CCBOER claim AC privilege involving the same sender and recipient as the
previous document, but this one has a HBS lawyer copied. Supposedly, this is privileged
because the communication provides advice to a client re an ORR. The descriptio n is too vague
to allow us to assess the claim; more information is required (what ORR request; what is the
general nature of the issue addressed, etc.). More importantly, the lawyer here is merely a CC
recipient. I do not know how a CC recipient seeks or offers legal advice, which is required for
the privilege to attach. Please produce the document and all others like it or provide a more
detailed description.

xREL000064575: CCBOER claim AC privilege involving Charles Dial, not a client of HBS to our
knowledge (and if he were, CCBOER’s receipt of AC communications to or from him would
                                                        1
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be a waiver), and Tracie Vickers with Coffee County government, with a HBS lawyer copied.
Supposedly, this is privileged because the communication provides advice to a client re an
ORR. As with all similar or identical descriptions, the information provided is too vague to
allow us to assess the claim. More importantly, the lawyer here is merely a CC recipient. And,
as with the immediately preceding document, I do not know how a CC recipient seeks or offers
legal advice. Please produce the document and all others like it.

xREL000064583: CCBOER claim AC privilege from Tracie Vickers to Charles Dial, not a client
of HBS to our knowledge (and if he were, CCBOER’s receipt of AC communications to or from
him would be a waiver). Here there is no HBS lawyer copied, and there is no hint of any lawyer
offering or any client seeking legal advice. Typically, privileged communications involve an
actual lawyer. Again, this communication involves legal advice regarding an ORR, but no
lawyer is involved. Additionally, the description is too vague to allow us to assess the claim.
Please produce the document and all others like it.

xREL000064575: CCBOER claim AC privilege involving Charles Dial, not a client of HBS to our
knowledge (and if he were, CCBOER’s receipt of AC communications to or from him would
be a waiver), and Tracie Vickers with Coffee County government, with a HBS lawyer
copied. Supposedly, this is privileged because the communication provides advice to a client
re an ORR. The description is too vague to allow us to assess the claim. More importantly, the
lawyer here is merely a CC recipient. And, as with the immediately preceding document, I do
not know how a CC recipient seeks or offers legal advice. Please produce the document and
all others like it.

xREL000064583: CCBOER claim AC privilege involving Ms. Herzog, a HBS lawyer, and J. Eric
Rich with the U. S. Department of Justice, with Tracie Vickers and James Barnes copied.
Purportedly, this is privileged because the communication provides advice to a client re an
ORR. The description is too vague to allow us to assess the claim. More importantly, the
primary addressee is a non-client. If Ms. Herzog was in fact providing advice to Ms. Vicker
and Mr. Barnes in connection with this communication, the privilege was waived by including
Mr. Rich in the communication. Please produce the document and all others like it.

xREL000061231: CCBOER claim AC privilege involving Elisa Gillis of Georgia Superior Court
Clerks' Cooperative Authority (GSCCCA) and Ms. Herzog. Purportedly, this is
communication is privileged because the communication provides advice to a client re an ORR.
The description is too vague to allow us to assess the claim. More importantly, as far as we are
aware, GSCCCA is not a HBS client, and even if it were, the fact that someone shared the
communication between HBS and GSCCCA with CCBOER waived the privilege. Please
produce the document and all others like it.

xREL000074286: CCBOER claim AC privilege involving Tracie Vickers as sender and Charles
Dial as recipient, neither of whom is an attorney. Purportedly, this is communication is
privileged because the communication provides advice to a client re an ORR. Of course, if no

                                               2
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attorney is involved in the communication, no AC privilege can apply. Also, the description is
too vague to allow us to assess the claim. Please produce the document and all others like it.

xREL0000075151.000.3—001.0 and xREL00000119591.000.3—001.0 This is a series of email
exchanges between Lee M. Stoy, with the Georgia AG’s office, and Rebecca Ditto of HBS,
purportedly regarding advice re an ORR. Of course, HBS is not representing the State of
Georgia in connection with this matter or in connection with these communications, and Mr.
Stoy is not representing CCBOER. On two of emails, the CCBOER is copied, but being copied
on an email is neither offering nor seeking legal advice. In short, no privilege applies to these
communications. Please produce the document and all others like it.

These twenty-something examples of non-privileged communications are illustrative of the
communications on the attached spread sheet. Please turn over these documents
immediately. Please let me know your intentions by January 9, 2024 (the first day or trial), or I
will file an emergency motion with the Court and will seek sanctions in connection with the
motion.

I await your response.

Sincerely, Cary Ichter




Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Wednesday, January 3, 2024 6:14 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline
                                                        3
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Dear Cary et al.:

Happy New Year!
Attached for service is the itemized privilege log which Judge Cheesbro ordered us to provide on or before January 3,
2024. I do not intend to serve a certificate of service unless you feel one is needed.
At this time, I am not able to consent to your request for an extension of time to file a motion for sanctions.
I hope your trial preparations are going well.

Regards,

Ben Perkins
Oliver Maner LLP
912-238-2515

From: Ben Perkins <bperkins@olivermaner.com>
Sent: Thursday, December 28, 2023 2:06 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: Re: Sanctions Motion Deadline

I'm traveling today but will be in touch as soon as I'm able to speak with co-counsel.

Ben Perkins
Oliver Maner LLP


From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Thursday, December 28, 2023 12:01:09 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: RE: Sanctions Motion Deadline

Ben: Any response to this? Cary
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com
                                                             4
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From: Cary Ichter
Sent: Tuesday, December 26, 2023 11:58 AM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: Sanctions Motion Deadline

Ben: As you know, the Court has given us 30 days from the date of its December 22, 2023
Order to file any motion for sanction related to the subpoenas served on CCBOER in the
Summer of 2022. We would like to move that deadline for two reasons. First, there is no
assurance that all privilege log issues will be resolved by that time. If, for example, the revised
privilege logs give rise to requests for further production or an in camera review, we do not
think a 30 day window will afford us sufficient time to address all pertinent issues.

Additionally, we expect that there is a good chance we will still be trying the Curling matter
on January 22, 2024, and even if we are miraculously finished by January 22, the trial will
have likely consumed all of our available bandwidth in early and mid-January.

We would suggest that we be afforded 14 days following the trial to submit motions
regarding the privilege log. We would report to the Court when the trial ends. If none are
filed, we would be given an additional 14 days to submit any sanctions motion. If any motions
are filed, the Court will indicate in any order resolving any such motion when the sanctions
motion will be due.

Pls let me know if we can report to the Court that you consent to this proposal. Cary
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




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              Declaration of Cary Ichter
                         EXHIBIT B
        01/08/24 Email Attachment - 1.4.25 Not Priv. .xlxs
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   Doc ID    Document Type (#       Date                From                    To                        CC               Privilege Assertion                               Privilege Description Note
               of Messages)

                                                                    Ashley                                                                       Privileged communication between client at the
                                                                    Abercrombie                                                                  direction of HBS attorney and insurance carrier for
            Email (2)              12/14/2020 Wesley Vickers        (ACCG)                                                 Attorney-Client       the purpose of assessing actual or potential
xREL0000104 Email                 5/27/2021   Deb Cox               COFFEE JAMES                                           A/C Privileged        Privileged communication between client and HBS
721                                 15:56     [dcox@lowndescounty.c BARNES                                                                       counsel for the purpose of providing legal advice
                                              om]                   [james.barnes@cof                                                            related to response to open records request and/or
                                                                    feecounty-                                                                   media inquiry

xREL0000104 Email                 5/28/2021    Deb Cox               'James Barnes'           Nick Kinsley                 A/C Privileged        Privileged communication between client and HBS
756                                 10:35      [dcox@lowndescounty.c [james.barnes@cof        [NKinsley@hallbo                                   counsel for the purpose of providing legal advice
                                               om]                   feecounty-ga.gov]        othsmith.com]                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000064 Email                10/27/2021    Charles Dial            Vickers, Tracie     Jennifer Dorminey Herzog        A/C Privileged        Privileged communication between client and HBS
575                                 13:50      [cdial@sgcce-inc.com]   [Tracie.Vickers@cof [jherzog@hallboo                                      counsel for the purpose of providing legal advice
                                                                       feecounty-ga.gov]   thsmith.com];Jam                                      related to response to open records request and/or
                                                                                           es Barnes                                             media inquiry
xREL0000064 Email                10/27/2021    Vickers, Tracie         Charles Dial                                        A/C Privileged        Privileged communication between client and HBS
583                                 13:50      [Tracie.Vickers@coffeec [cdial@sgcce-                                                             counsel for the purpose of providing legal advice
                                               ounty-ga.gov]           inc.com];Jennifer                                                         related to response to open records request and/or
                                                                       Dorminey Herzog                                                           media inquiry
                                                                       [jherzog@hallbooth
                                                                       smith.com];James
                                                                       Barnes
xREL0000062 Email                 11/1/2021    Jennifer Dorminey   Rich, J. Eric (CRT)        Vickers, Tracie              A/C Privileged        Privileged communication between client and HBS
038                                 14:59      Herzog              [J.Rich@usdoj.gov]         [Tracie.Vickers@c                                  counsel for the purpose of providing legal advice
                                               [/O=EXCHANGELABS/                              offeecounty- ga.gov];James                         related to response to open records request and/or
                                               OU                                             Barnes [james.barnes@c                             media inquiry
                                               =EXCHANGE                                      offeecounty-
                                               ADMINISTRATIVE                                 ga.gov];O'Connor,
                                               GROUP
                                               (FYDIBOHF23SPDLT)/C
                                               N
                                               =RECIPIENTS/CN=56B
                                               47
xREL0000061 Email                11/29/2021    Gillis, Elisa            Jennifer Dorminey                                  A/C Privileged        Privileged communication between client and HBS
231                                 17:13      [Elisa.Gillis@gsccca.org Herzog                                                                   counsel for the purpose of providing legal advice
                                               ]                        [jherzog@hallbooth                                                       related to response to open records request and/or
                                                                        smith.com]                                                               media inquiry

xREL0000061 Email                11/29/2021    Jennifer Dorminey       Gillis, Elisa                                       A/C Privileged        Privileged communication between client and HBS
227                                 17:16      Herzog                  [Elisa.Gillis@gsccca                                                      counsel for the purpose of providing legal advice
                                               [/O=EXCHANGELABS/       . org]                                                                    related to response to open records request and/or
                                               OU                                                                                                media inquiry
                                               =EXCHANGE
                                               ADMINISTRATIVE
                                               GROUP
xREL0000074 Email               3/1/2022 16:15 Vickers, Tracie         Charles Dial                                        A/C Privileged        Privileged communication between client and HBS
286                                            [Tracie.Vickers@coffeec [cdial@sgcce-                                                             counsel for the purpose of providing legal advice
                                               ounty-ga.gov]           inc.com];Jennifer                                                         related to response to open records request and/or
                                                                       Dorminey Herzog                                                           media inquiry

xREL0000075 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            Not Privileged        Privileged internal communication between HBS
151.000 3                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            Not Privileged        Privileged internal communication between HBS
151.000 4                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            Not Privileged        Privileged internal communication between HBS
151.000 5                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            Not Privileged        Privileged internal communication between HBS
151.000 6                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County             Not Privileged        Privileged internal communication between HBS
151.000 7                                      [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                       counsel for the purpose of providing legal advice
                                               .com]                  OV]              E_Mail                                                    related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            Not Privileged        Privileged internal communication between HBS
151.000 8                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000075 Email               3/9/2022 14:43 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County             Not Privileged
151.001 0                                      [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board
                                               .com]                  OV]              E_Mail

xREL0000119 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            A/C Privileged        Privileged internal communication between HBS
591.000 3                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000119 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            A/C Privileged        Privileged internal communication between HBS
591.000 4                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000119 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            A/C Privileged        Privileged internal communication between HBS
591.000 5                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry

xREL0000119 Email               3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                            A/C Privileged        Privileged internal communication between HBS
591.000 6                                      [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                             counsel for the purpose of providing legal advice
                                                                  mith.com]                                                                      related to response to open records request and/or
                                                                                                                                                 media inquiry
     Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 16 of 61



xREL0000119 Email   3/9/2022 14:43 Rebekah Ditto       Lee M. Stoy, Jr.          4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
591.000 7                          [/O=EXCHANGELABS/ [LStoy@LAW.GA.G             BOC _ Election Board E_Mail                  counsel for the purpose of providing legal advice
                                   OU                  OV]                       [{F214496}.imana                             related to response to open records request and/or
                                   =EXCHANGE                                     ge@hbswcs02.hbs                              media inquiry
                                   ADMINISTRATIVE
                                   GROUP
                                   (FYDIBOHF23SPDLT)/C
                                   N
xREL0000119 Email   3/9/2022 14:43 Lee M. Stoy, Jr.   Rebekah Ditto                                          A/C Privileged   Privileged internal communication between HBS
591.000 8                          [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                      counsel for the purpose of providing legal advice
                                                      mith.com]                                                               related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000119 Email   3/9/2022 14:43 Rebekah Ditto       Lee M. Stoy, Jr.          4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
591.001 0                          [/O=EXCHANGELABS/ [LStoy@LAW.GA.G             BOC _ Election Board E_Mail                  counsel for the purpose of providing legal advice
                                   OU                  OV]                       [{F214496}.imana                             related to response to open records request and/or
                                   =EXCHANGE                                     ge@hbswcs02.hbs                              media inquiry
                                   ADMINISTRATIVE
                                   GROUP
                                   (FYDIBOHF23SPDLT)/C
                                   N
xREL0000071 Email    4/5/2022 9:51 Vickers, Tracie         Charles Dial                                      A/C Privileged   Privileged communication between client and HBS
492                                [Tracie.Vickers@coffeec [charles.dial@coffe                                                counsel for the purpose of providing legal advice
                                   ounty-ga.gov]           ecounty-                                                           related to response to open records request and/or
                                                           ga.gov];Vickers,                                                   media inquiry
                                                           Wesley
                                                           [Wesley.Vickers@c
                                                           offeecounty-

xREL0000071 Email   4/6/2022 13:11 Vickers, Tracie         Charles Dial                                      A/C Privileged   Privileged communication between client and HBS
709                                [Tracie.Vickers@coffeec [charles.dial@coffe                                                counsel for the purpose of providing legal advice
                                   ounty-ga.gov]           ecounty-                                                           related to response to open records request and/or
                                                           ga.gov];Jennifer                                                   media inquiry
                                                           Dorminey Herzog
xREL0000071 Email    4/7/2022 8:04 Vickers, Tracie         Charles Dial                                      A/C Privileged   Privileged communication between client and HBS
786                                [Tracie.Vickers@coffeec [charles.dial@coffe                                                counsel for the purpose of providing legal advice
                                   ounty-ga.gov]           ecounty-                                                           related to response to open records request and/or
                                                           ga.gov];Jennifer                                                   media inquiry
                                                           Dorminey Herzog
xREL0000072 Email       4/12/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
297.000 1                   11:15 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
                                                     mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
297.000 2                   11:15 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
                                                     mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
297.000 3                   11:15 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
                                  .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
297.000 4                   11:15 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
                                  .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
327.000                     11:16 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
1.0001                                               mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
327.000                     11:16 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
1.0002                                               mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
327.000                     11:16 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
1.0003                            .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/12/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
327.000                     11:16 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
1.0004                            .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000072 Email       4/13/2022 Vickers, Tracie         Charles Dial                                       A/C Privileged   Privileged communication between client and HBS
582                         17:30 [Tracie.Vickers@coffeec [charles.dial@coffe                                                 counsel for the purpose of providing legal advice
                                  ounty-ga.gov]           ecounty-                                                            related to response to open records request and/or
                                                          ga.gov];Jennifer                                                    media inquiry
                                                          Dorminey Herzog
xREL0000072 Email       4/13/2022 Charles Dial            Vickers, Tracie     Jennifer Dorminey Herzog       A/C Privileged   Privileged communication between client and HBS
573                         17:38 [charles.dial@coffeecou [Tracie.Vickers@cof [jherzog@hallboo                                counsel for the purpose of providing legal advice
                                  nty-ga.gov]             feecounty-ga.gov]   thsmith.com]                                    related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000020 Email       4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
073.000 1                   17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
                                  .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000020 Email       4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County            A/C Privileged   Privileged internal communication between HBS
073.000 2                   17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                                 counsel for the purpose of providing legal advice
                                  .com]                  OV]              E_Mail                                              related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000020 Email       4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
073.000 3                   17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
                                                     mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry

xREL0000020 Email       4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                           A/C Privileged   Privileged internal communication between HBS
073.000 4                   17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                       counsel for the purpose of providing legal advice
                                                     mith.com]                                                                related to response to open records request and/or
                                                                                                                              media inquiry
     Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 17 of 61



xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.000 5               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.000 6               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                    A/C Privileged   Privileged internal communication between HBS
073.000 7               17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                counsel for the purpose of providing legal advice
                                                 mith.com]                                                         related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.000 8               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.000 9               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.001 7               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Rebekah Ditto          Lee M. Stoy, Jr. 4532_0036 Coffee County     A/C Privileged   Privileged internal communication between HBS
073.001 8               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G BOC _ Election Board                          counsel for the purpose of providing legal advice
                              .com]                  OV]              E_Mail                                       related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000020 Email   4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                    A/C Privileged   Privileged internal communication between HBS
073.001 9               17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                counsel for the purpose of providing legal advice
                                                 mith.com]                                                         related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Rebekah Ditto       'Lee M. Stoy, Jr.'     '4532_0036               A/C Privileged   Privileged internal communication between HBS
243.000 1               17:23 [/O=EXCHANGELABS/ [LStoy@LAW.GA.G          Coffee County BOC _                       counsel for the purpose of providing legal advice
                              OU                  OV]                    Election Board E_Mail'                    related to response to open records request and/or
                              =EXCHANGE                                  [{F214496}.imana                          media inquiry
                              ADMINISTRATIVE                             ge@hbswcs02.hbs
                              GROUP
                              (FYDIBOHF23SPDLT)/C
                              N
xREL0000114 Email   4/19/2022 Rebekah Ditto       'Lee M. Stoy, Jr.'     '4532_0036               A/C Privileged   Privileged internal communication between HBS
243.000 2               17:23 [/O=EXCHANGELABS/ [LStoy@LAW.GA.G          Coffee County BOC _                       counsel for the purpose of providing legal advice
                              OU                  OV]                    Election Board E_Mail'                    related to response to open records request and/or
                              =EXCHANGE                                  [{F214496}.imana                          media inquiry
                              ADMINISTRATIVE                             ge@hbswcs02.hbs
                              GROUP
                              (FYDIBOHF23SPDLT)/C
                              N
xREL0000114 Email   4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                    A/C Privileged   Privileged internal communication between HBS
243.000 3               17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                counsel for the purpose of providing legal advice
                                                 mith.com]                                                         related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                    A/C Privileged   Privileged internal communication between HBS
243.000 4               17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                counsel for the purpose of providing legal advice
                                                 mith.com]                                                         related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Rebekah Ditto          'Lee M. Stoy, Jr.' '4532_0036                A/C Privileged   Privileged internal communication between HBS
243.000 5               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G Coffee County BOC _                           counsel for the purpose of providing legal advice
                              .com]                  OV]                Election Board E_Mail'                     related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Rebekah Ditto          'Lee M. Stoy, Jr.' '4532_0036                A/C Privileged   Privileged internal communication between HBS
243.000 6               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G Coffee County BOC _                           counsel for the purpose of providing legal advice
                              .com]                  OV]                Election Board E_Mail'                     related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                    A/C Privileged   Privileged internal communication between HBS
243.000 7               17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                counsel for the purpose of providing legal advice
                                                 mith.com]                                                         related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Rebekah Ditto       'Lee M. Stoy, Jr.'     '4532_0036               A/C Privileged   Privileged internal communication between HBS
243.000 8               17:23 [/O=EXCHANGELABS/ [LStoy@LAW.GA.G          Coffee County BOC _                       counsel for the purpose of providing legal advice
                              OU                  OV]                    Election Board E_Mail'                    related to response to open records request and/or
                              =EXCHANGE                                  [{F214496}.imana                          media inquiry
                              ADMINISTRATIVE                             ge@hbswcs02.hbs
                              GROUP
                              (FYDIBOHF23SPDLT)/C
                              N
xREL0000114 Email   4/19/2022 Rebekah Ditto       'Lee M. Stoy, Jr.'     '4532_0036               A/C Privileged   Privileged internal communication between HBS
243.000 9               17:23 [/O=EXCHANGELABS/ [LStoy@LAW.GA.G          Coffee County BOC _                       counsel for the purpose of providing legal advice
                              OU                  OV]                    Election Board E_Mail'                    related to response to open records request and/or
                              =EXCHANGE                                  [{F214496}.imana                          media inquiry
                              ADMINISTRATIVE                             ge@hbswcs02.hbs
                              GROUP
                              (FYDIBOHF23SPDLT)/C
                              N
xREL0000114 Email   4/19/2022 Rebekah Ditto          'Lee M. Stoy, Jr.' '4532_0036                A/C Privileged   Privileged internal communication between HBS
243.001 7               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G Coffee County BOC _                           counsel for the purpose of providing legal advice
                              .com]                  OV]                Election Board E_Mail'                     related to response to open records request and/or
                                                                                                                   media inquiry

xREL0000114 Email   4/19/2022 Rebekah Ditto          'Lee M. Stoy, Jr.' '4532_0036                A/C Privileged   Privileged internal communication between HBS
243.001 8               17:23 [RDitto@hallboothsmith [LStoy@LAW.GA.G Coffee County BOC _                           counsel for the purpose of providing legal advice
                              .com]                  OV]                Election Board E_Mail'                     related to response to open records request and/or
                                                                                                                   media inquiry
     Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 18 of 61



xREL0000114 Email          4/19/2022 Lee M. Stoy, Jr.   Rebekah Ditto                                             A/C Privileged    Privileged internal communication between HBS
243.001 9                      17:23 [LStoy@LAW.GA.GOV] [RDitto@hallbooths                                                          counsel for the purpose of providing legal advice
                                                        mith.com]                                                                   related to response to open records request and/or
                                                                                                                                    media inquiry

xREL0000071 Email      5/2/2022 17:20 Carbone, Dennis       Jennifer Dorminey       Anthony A. Rowell             Not Privileged
172.000 1                             [dcarbone@sos.ga.gov] Herzog                  [ARowell@hallboo
                                                            [jherzog@hallbooth      thsmith.com];Nick Kinsley
                                                            smith.com]              [NKinsley@hallbo
xREL0000071 Email      5/2/2022 17:20 Deb Cox               'James Barnes'          Nick Kinsley                  A/C Privileged    Privileged communication between client and HBS
172.000 2                             [dcox@lowndescounty.c [james.barnes@cof       [NKinsley@hallbo                                counsel for the purpose of providing legal advice
                                      om]                   feecounty-ga.gov]       othsmith.com]                                   related to response to open records request and/or
                                                                                                                                    media inquiry

xREL0000071 Email      5/2/2022 17:20 Deb Cox               COFFEE JAMES                                          A/C Privileged    Privileged communication between client and HBS
172.000 3                             [dcox@lowndescounty.c BARNES                                                                  counsel for the purpose of providing legal advice
                                      om]                   [james.barnes@cof                                                       related to response to open records request and/or
                                                            feecounty-                                                              media inquiry

xREL0000100 Email      5/2/2022 17:20 Carbone, Dennis       Jennifer Dorminey       Anthony A. Rowell             Not Privileged
810.000 1                             [dcarbone@sos.ga.gov] Herzog                  [ARowell@hallboo
                                                            [jherzog@hallbooth      thsmith.com];Nick Kinsley
                                                            smith.com]              [NKinsley@hallbo
xREL0000100 Email      5/2/2022 17:20 Deb Cox               'James Barnes'          Nick Kinsley                  A/C Privileged    Privileged communication between client and HBS
810.000 2                             [dcox@lowndescounty.c [james.barnes@cof       [NKinsley@hallbo                                counsel for the purpose of providing legal advice
                                      om]                   feecounty-ga.gov]       othsmith.com]                                   related to response to open records request and/or
                                                                                                                                    media inquiry

xREL0000100 Email      5/2/2022 17:20 Deb Cox               COFFEE JAMES                                          A/C Privileged    Privileged communication between client and HBS
810.000 3                             [dcox@lowndescounty.c BARNES                                                                  counsel for the purpose of providing legal advice
                                      om]                   [james.barnes@cof                                                       related to response to open records request and/or
                                                            feecounty-                                                              media inquiry

xREL0000068 Email      5/4/2022 16:14 Charles Dial            Vickers, Tracie     Wendell Stone                   A/C Privileged    Privileged communication between client and HBS
776                                   [charles.dial@coffeecou [Tracie.Vickers@cof [wendellstone200                                  counsel for the purpose of providing legal advice
                                      nty-ga.gov]             feecounty-ga.gov]   0@yahoo.com];M atthew                             related to response to open records request and/or
                                                                                  McCullough                                        media inquiry
                                                                                  [mwmccul@yaho
                                                                                  o.com];Ernestine Thomas-
                                                                                  Clark [etclark@windstre
                                                                                  am.net];Ernestine
                                                                                  ThomasClark
                                                                                  [ernestine.thomas
                                                                                  clark@coffeecoun ty-
                                                                                  ga.gov];ericchane
                                                                                  y80@gmail.com;J ennifer
                                                                                  Dorminey Herzog
                                                                                  [jherzog@hallboo

xREL0000068 Email       5/5/2022 9:40 Jennifer Dorminey       Charles Dial          Vickers, Tracie               A/C Privileged    Privileged communication between client and HBS
604                                   Herzog                  [charles.dial@coffe   [Tracie.Vickers@c                               counsel for the purpose of providing legal advice
                                      [/O=EXCHANGELABS/       ecounty-ga.gov]       offeecounty- ga.gov]                            related to response to open records request and/or
                                      OU                                                                                            media inquiry
                                      =EXCHANGE
                                      ADMINISTRATIVE
                                      GROUP
xREL0000068 Email      5/5/2022 12:08 Charles Dial            Jennifer Dorminey     Vickers, Tracie               A/C Privileged    Privileged communication between client and HBS
642                                   [charles.dial@coffeecou Herzog                [Tracie.Vickers@c                               counsel for the purpose of providing legal advice
                                      nty-ga.gov]             [jherzog@hallbooth    offeecounty-                                    related to response to open records request and/or
                                                              smith.com]            ga.gov]                                         media inquiry

xREL0000068 Email      5/5/2022 13:07 Jennifer Dorminey       Charles Dial                                        A/C Privileged    Privileged communication between client and HBS
638                                   Herzog                  [charles.dial@coffe                                                   counsel for the purpose of providing legal advice
                                      [/O=EXCHANGELABS/       ecounty-ga.gov]                                                       related to response to open records request and/or
                                      OU                                                                                            media inquiry
                                      =EXCHANGE
                                      ADMINISTRATIVE
                                      GROUP
xREL0000085 Email      6/2/2022 22:00 Jennifer Dorminey      records@american       Vickers, Tracie               A/C Privileged    Privileged communication between client and HBS
859                                   Herzog                 oversight.org          [Tracie.Vickers@c                               counsel for the purpose of providing legal advice
                                      [jherzog@hallboothsmit                        offeecounty- ga.gov];Rachel                     related to response to open records request and/or
                                      h.com]                                        Roberts                                         media inquiry

xREL0000023 Email          6/29/2022 Anthony A. Rowell   Phillips, Jeff             Abercrombie, Ashley           A/C Privileged    Privileged communication between client's
474                            15:14 [/O=EXCHANGELABS/ [jphillips@accg.org]         [AAbercrombie@                                  insurance carrier and HBS counsel for the purpose
                                     OU                                             accg.org];Smith, John                           of providing legal advice related to potential or
                                     =EXCHANGE                                      [JSmith@accg.org                                actual litigation
                                     ADMINISTRATIVE
                                     GROUP
                                     (FYDIBOHF23SPDLT)/C
                                     N
xREL0000082 Email          6/29/2022 Jennifer Dorminey      bclark@vedderpric       Rachel Roberts                A/C Privileged    Privileged communication between client and HBS
548                            18:50 Herzog                 e.com                   [Rachel.Roberts@                                counsel for the purpose of providing legal advice
                                     [jherzog@hallboothsmit                         coffeecounty-                                   related to response to open records request and/or
                                     h.com]                                         ga.gov];Vickers,                                media inquiry
                                                                                    Tracie
                                     Jennifer Herzog, Esq.;   Brad Collins, Esq.;                                                   Privileged communication between client and HBS
                                     Brad Collins, Esq.; Tony Tony Rowell, Esq.;                                                    counsel for the purpose of providing legal advice
                                     Rowell, Esq.             Jennifer Herzog,                                                      related to actual or potential litigation.
            Text (3)       7/12/2022                                                                              Attorney-Client
xREL0000020 Email          7/12/2022 Jennifer Dorminey      brad@bradcollinsla      Anthony A. Rowell             A/C Privileged    Privileged communication between client's
400                            11:05 Herzog                 w.com                   [ARowell@hallboo                                additional counsel and HBS counsel for the
                                     [jherzog@hallboothsmit                         thsmith.com];Vick ers,                          purpose of providing legal advice related to
                                     h.com]                                         Wesley [Wesley.Vickers@                         response to request for production of documents to
                                                                                    coffeecounty- ga.gov];Nick                      a nonparty/subpoena.
                                                                                    Kinsley
xREL0000079 Email          7/12/2022 Jennifer Dorminey      brad@bradcollinsla      Anthony A. Rowell             A/C Privileged    Privileged communication between client's
516                            11:05 Herzog                 w.com                   [ARowell@hallboo                                additional counsel and HBS counsel for the
                                     [jherzog@hallboothsmit                         thsmith.com];Vick ers,                          purpose of providing legal advice related to
                                     h.com]                                         Wesley [Wesley.Vickers@                         potential or actual litigation
                                                                                    coffeecounty- ga.gov];Nick
                                                                                    Kinsley
xREL0000020 Email          7/12/2022 Jennifer Dorminey      brad@bradcollinsla      Anthony A. Rowell             A/C Privileged    Privileged communication between client's
429                            11:53 Herzog                 w.com                   [ARowell@hallboo                                additional counsel and HBS counsel for the
                                     [jherzog@hallboothsmit                         thsmith.com];Vick ers,                          purpose of providing legal advice related to
                                     h.com]                                         Wesley [Wesley.Vickers@                         response to request for production of documents to
                                                                                    coffeecounty- ga.gov];Nick                      a nonparty/subpoena.
                                                                                    Kinsley
     Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 19 of 61



xREL0000020 Email       7/12/2022 Jennifer Dorminey      brad@bradcollinsla      Anthony A. Rowell            A/C Privileged   Privileged communication between client's counsel
957                         16:23 Herzog                 w.com                   [ARowell@hallboo                              and HBS counsel for the purpose of providing legal
                                  [jherzog@hallboothsmit                         thsmith.com];Vick ers,                        advice related to response to request for production
                                  h.com]                                         Wesley [Wesley.Vickers@                       of documents to a nonparty/subpoena.
                                                                                 coffeecounty- ga.gov];Nick
                                                                                 Kinsley
xREL0000022 Email       7/13/2022 Jennifer Dorminey      James A Barnes          Anthony A. Rowell            A/C Privileged   Privileged communication between client and HBS
007                         15:01 Herzog                 [jbarnes@valdosta.      [ARowell@hallboo                              counsel for the purpose of providing legal advice
                                  [jherzog@hallboothsmit edu]                    thsmith.com];Nick Kinsley                     related to response to request for production of
                                  h.com]                                         [NKinsley@hallbo                              documents to a nonparty/subpoena.
                                                                                 othsmith.com];Vic
                                                                                 kers, Wesley
xREL0000080 Email       7/13/2022 Jennifer Dorminey   James A Barnes             Anthony A. Rowell            A/C Privileged   Privileged communication between client and HBS
324                         15:01 Herzog              [jbarnes@valdosta.         [ARowell@hallboo                              counsel for the purpose of providing legal advice
                                  [/O=EXCHANGELABS/ edu]                         thsmith.com];Nick Kinsley                     related to response to request for production of
                                  OU                                             [NKinsley@hallbo                              documents to a nonparty/subpoena.
                                  =EXCHANGE                                      othsmith.com];Vic
                                  ADMINISTRATIVE                                 kers, Wesley
                                  GROUP
                                  (FYDIBOHF23SPDLT)/C
                                  N
xREL0000080 Email       7/14/2022 Vickers, Tracie         Charles Dial                                        A/C Privileged   Privileged communication between client and HBS
987                         14:12 [Tracie.Vickers@coffeec [charles.dial@coffe                                                  counsel for the purpose of providing legal advice
                                  ounty-ga.gov]           ecounty-                                                             related to response to open records request and/or
                                                          ga.gov];Jennifer                                                     media inquiry
                                                          Dorminey Herzog
xREL0000081 Email       7/15/2022 Vickers, Tracie         Charles Dial                                        A/C Privileged   Privileged communication between client and HBS
145                         15:37 [Tracie.Vickers@coffeec [charles.dial@coffe                                                  counsel for the purpose of providing legal advice
                                  ounty-ga.gov]           ecounty-                                                             related to response to open records request and/or
                                                          ga.gov];Jennifer                                                     media inquiry
                                                          Dorminey Herzog
xREL0000124 Email       7/18/2022 calendar-                Conaway, Jenna B.                                  A/C Privileged   Privileged internal communication between HBS
107.000 1                   14:25 dmv@veritext.com         [JConaway@mofo.c                                                    counsel for the purpose of providing legal advice
                                                           om]                                                                 related to response to request for production of
                                                                                                                               documents to a nonparty/subpoena.

xREL0000081 Email       7/18/2022 Jennifer Dorminey        James A Barnes        Stephen Delk                 A/C Privileged   Privileged communication between client and HBS
286                         14:28 Herzog                   [jbarnes@valdosta.    [SDelk@hallbooth                              counsel for the purpose of providing legal advice
                                  [/O=EXCHANGELABS/        edu]                  smith.com];Carla Ugalde                       related to potential or actual litigation
                                  OU                                             [CUgalde@hallbo
                                  =EXCHANGE                                      othsmith.com]
                                  ADMINISTRATIVE
                                  GROUP
xREL0000124 Email       7/18/2022 Jennifer Dorminey      James A Barnes          Stephen Delk                 A/C Privileged   Privileged communication between client and HBS
110                         14:28 Herzog                 [jbarnes@valdosta.      [SDelk@hallbooth                              counsel for the purpose of providing legal advice
                                  [jherzog@hallboothsmit edu]                    smith.com];Carla Ugalde                       related to response to request for production of
                                  h.com]                                         [CUgalde@hallbo                               documents to a nonparty/subpoena.

xREL0000124 Email       7/18/2022 calendar-                Conaway, Jenna B.                                  A/C Privileged   Privileged communication between client and HBS
110.000 1                   14:28 dmv@veritext.com         [JConaway@mofo.c                                                    counsel for the purpose of providing legal advice
                                                           om]                                                                 related to response to request for production of
                                                                                                                               documents to a nonparty/subpoena.

xREL0000081 Email       7/18/2022 Jennifer Dorminey        James A Barnes        Stephen Delk                 A/C Privileged   Privileged communication between client and HBS
287                         14:31 Herzog                   [jbarnes@valdosta.    [SDelk@hallbooth                              counsel for the purpose of providing legal advice
                                  [/O=EXCHANGELABS/        edu]                  smith.com];Carla Ugalde                       related to potential or actual litigation
                                  OU                                             [CUgalde@hallbo
                                  =EXCHANGE                                      othsmith.com]
                                  ADMINISTRATIVE
                                  GROUP
xREL0000124 Email       7/18/2022 Jennifer Dorminey      James A Barnes          Stephen Delk                 A/C Privileged   Privileged communication between client and HBS
111                         14:31 Herzog                 [jbarnes@valdosta.      [SDelk@hallbooth                              counsel for the purpose of providing legal advice
                                  [jherzog@hallboothsmit edu]                    smith.com];Carla Ugalde                       related to response to request for production of
                                  h.com]                                         [CUgalde@hallbo                               documents to a nonparty/subpoena.

xREL0000081 Email       7/18/2022 Vickers, Tracie         Charles Dial                                        A/C Privileged   Privileged communication between client and HBS
601.000 2                   16:34 [Tracie.Vickers@coffeec [charles.dial@coffe                                                  counsel for the purpose of providing legal advice
                                  ounty-ga.gov]           ecounty-                                                             related to response to open records request and/or
                                                          ga.gov];Jennifer                                                     media inquiry
                                                          Dorminey Herzog
xREL0000081 Email   7/19/2022 9:20 Vickers, Tracie         Charles Dial                                       A/C Privileged   Privileged communication between client and HBS
419.000 1                          [Tracie.Vickers@coffeec [charles.dial@coffe                                                 counsel for the purpose of providing legal advice
                                   ounty-ga.gov]           ecounty-                                                            related to response to open records request and/or
                                                           ga.gov];Jennifer                                                    media inquiry
                                                           Dorminey Herzog
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              Declaration of Cary Ichter
                         EXHIBIT C
                  January 29, 2024 Email Chain
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From:                Ben Perkins <bperkins@olivermaner.com>
Sent:                Monday, January 29, 2024 4:02 PM
To:                  Cary Ichter; Marilyn Marks; Jennifer Dorminey Herzog; Wes Rahn; Bruce Perrin Brown Esq.
                     (bbrown@brucepbrownlaw.com)
Cc:                  Halsey G. Knapp, Jr.; Adam M. Sparks; Nick Kinsley; Anthony A. Rowell; Jill Connors; Melissa Boehlke
Subject:             RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline


Cary,
I believe this is the first time those documents have been mentioned since the privilege log was served on January 3. Is
that correct? If so, I don’t believe we would have had a reason to reevaluate the privilege assertion as to those
documents.


Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Monday, January 29, 2024 3:07 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: From what I can tell, these are all the list documents on which Mr. Dial was copied for
which privilege was claim that have not been addressed:

xREL0000009758
xREL0000009874
xREL0000066837
xREL0000066859
xREL0000069112
xREL0000068604
xREL0000068638
xREL0000068642
xREL0000068776
xREL0000071160
xREL0000071219
xREL0000071225
xREL0000072573

                                                            1
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xREL0000072582
xREL0000071323
xREL0000071492
xREL0000074286
xREL0000071709
xREL0000071786
xREL0000072218
xREL0000074756.0002
xREL0000081145
xREL0000080987
xREL0000081419.0001
xREL0000081601.0002

Have they been reviewed as well to determine if CCBOER wants to produce the
documents. Cary


Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Monday, January 29, 2024 1:19 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Cary,
I believe you are referring to my comments about xREL000064575 and 64583. Those documents were produced and
deleted from the privilege log. See my January 17 email. We also produced the open records request at issue for 74286
(see my 1/11/24 email from 8:17 p.m.).
I believe the foregoing productions resolved any issues regarding documents on which Mr. Dial is copied, but if you feel I
am mistaken, please give me a call to discuss.
                                                            2
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Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Monday, January 29, 2024 12:02 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: You indicated you were prepared to confer further re production of documents on which
Mr. Dial is copied. What is the County prepared to propose? Cary
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Friday, January 12, 2024 5:23 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Cary,
See what I wrote in red below, highlighted so you can see what is new.
Also: xREL000104721 and xREL000104756: thank you for giving us the opportunity to take another look at these
documents. After further review, we agree that the privilege was waived as to the communication being produced. See
attached. These are produced straight from Relativity, which means they should open in your browser. Let me know if
you any difficulties opening them.

Other than our agreement to submit an updated privilege log to delete reference to “media inquiry” for Xrel000061231,
is there anything else you feel is needed from us? I believe we’ve satisfied all concerns you raised.
                                                          3
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Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Friday, January 12, 2024 10:30 AM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

See below in BLUE.
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Thursday, January 11, 2024 7:14 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Cary,
In the interest of supplying as much information as possible as quickly as possible, see below in red. I’ll update this
response as I have additional information.

Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Thursday, January 11, 2024 5:42 PM
                                                              4
             Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 25 of 61

To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

See comments imbedded below:

From: Ben Perkins <bperkins@olivermaner.com>
Sent: Tuesday, January 9, 2024 7:36 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Dear Cary:

I apologize for not responding sooner today. I’ve been stuck at home sick with COVID since Sunday, and making matters
worse, power at my house was out until a couple of hours ago due to the high winds. Nick, Jennifer, and Tony’s offices
were closed today due to this crazy storm.

Thank you for the opportunity to confer regarding the updated 2024 privilege log. It is my intention to address each
item raised in your email and the issues raised for each item. If I failed to do that, please let me know. As you know, it is
our desire to confer and achieve a reasonable resolution without having to involve the Court.

xREL000104721: We are reviewing/researching and will be in touch as soon as possible.

CI: I appreciate that. When will we have a final answer. The trial is happening now. BMP: I
expect by Jan. 12. Jan 12 update: produced (see above).

xREL000104756: We are reviewing/researching and will be in touch as soon as possible.

CI: I appreciate that. When will we have a final answer. The trial is happening now. BMP:I
expect by Jan. 12. Jan 12 update: produced (see above).


xREL000064575: Mr. Dial was working for Coffee County and was involved in the correspondence in that capacity. We
thus disagree with your position. See Hope For Fams. & Cmty. Serv., Inc. v. Warren, 2009 WL 1066525 (M.D. Ala. Apr. 21,
2009) and the cases cited therein, including Bieter (finding the attorney‐client privilege applied to communications
between a consultant and defendant’s counsel). While the research is clear, we are willing to confer further. However,
after reviewing the correspondence more closely, part of this document is not privileged and is produced herewith
(Please see attached, p. 1 ).

CI: "The attorney-client privilege exists to protect confidential communications
between client and lawyer made for the purpose of securing legal advice." In re Grand
                                                              5
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Jury Proceedings 88-9, 899 F.2d 1039, 1042 (11th Cir. 1990). "The party invoking the
attorney-client privilege has the burden of proving that an attorney-client relationship
existed and that the particular communications were confidential." Bogle v.
McClure, 332 F.3d 1347, 1358 (11th Cir. 2003) (citations and internal quotation marks
omitted). "To determine if a particular communication is confidential and protected by
the attorney-client privilege, the privilege holder must prove the communication was
`(1) intended to remain confidential and (2) under the circumstances
was reasonably expected and understood to be confidential.'" Id. (quoting United States
v. Bell, 776 F.2d 965, 971 (11th Cir. 1985)). A communication with an independent
contractor also has to satisfy the test used to examine the applicability of the attorney-
client privilege in the corporate-employee setting. That test provides that:

       the attorney-client privilege is applicable to an [independent contractor's]
       communication if (1) the communication was made for the purpose of securing
       legal advice; (2) the [independent contractor] making the communication did so
       at the direction of [the corporation]; (3) the [corporation] made the request so
       that the corporation could secure legal advice; (4) the subject matter of the
       communication is within the scope of the [independent contractor's] duties; and
       (5) the communication is not disseminated beyond those persons who, because
       of the corporate structure, need to know its contents.
Id. at 936 (quoting Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 599 (8th Cir. 1977)
(brackets added)). The burden is on the party claiming the privilege "to show that the
communications at issue meet all of the [five] requirements." Id. (brackets added).

The information that you have supplied to us to justify invocation of the privilege in
communications involving Mr. Dial, an independent contractor, is not nearly sufficient
to make this kind of showing. You need to provide mor information so we can assess
whether the invocation of the privilege is justified. BMP:I am struggling with how to
provide additional information without disclosing the content of the communication.
Note that we produced part of this document on Jan 9 (p. 1). We will be in touch.

CI: Well, you could tell me who the ORR came from; what was requested; when the ORR was
made; what Mr. Dial’s involvement was (obviously, he was not offering legal advise and
presumably, he was not seeking legal advise, as Ms. Herzog was not the primary recipient);
and what technical (non-legal) info was sought from Mr. Dial.
BMP Jan. 12 update: please see pages 1 and 6 of the documents we produced on January 9. I believe they resolve the
issue.

xREL000064583: Contrary to what you wrote, Ms. Herzog was a recipient on this correspondence. However, after
reviewing the correspondence more closely, this document is not privileged and is produced herewith (Please see
attached, p. 6).


                                                          6
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CI: You are correct. Ms. Herzog was copied, but again, unless you can make a showing
sufficient to justify the invocation of the privilege in connection with communications
involving Mr. Dial, the privilege here would have been waived. BMP: the document was
produced as an attachment to my January 9 email (see p. 6), so this issue is moot.

xREL000064583: It appears that the document number you reference is incorrect, and you instead are referencing
xREL0000062038. Upon further review of xREL0000062038, we agree that communication (a communication between
Ms. Herzog and Eric Rich from the DOJ with others copied) is not privileged and is produced herewith. (Please see
attached, pp. 2‐4)

CI: Right again. Thanks for the production.

xREL000061231: Ms. Gillis is the Coffee County Clerk of Court. We understand the reason her email domain caused
confusion on your end. The communication is privileged.

CI: I find your description of the basis for the assertion of the privilege troubling with respect
to all of these documents. You say assert that “the communication….[was] for the purpose of
providing legal advice related to a response to open records request and/or media
inquiry.” That suggests to me that counsel has not even looked at the document. Was it an
open records request or a media inquiry. I would think the need for legal advice would be
much greater in connection with a ORR versus a media inquiry. Media inquiries, I would
think, are more likely fielded by PR specialists and do not typically require legal advice. Pls let
us know which it was for each of these documents for which that boilerplate description is
used. BMP: The documents were reviewed by counsel. As you noted, counsel engaged in a
tremendous amount of work in a short period of time during the holidays to prepare and
serve the updated privilege log within the Court’s deadline (work that could have been done
in 2022 had there been a conferral soon after the privilege log was produced). Given the
circumstances, it makes sense that they would use a somewhat broad but applicable
description. I don’t agree with the generalization that ORR’s typically require a greater need
for legal advice than media inquiries since it depends on the issue. I am not aware of Coffee
County employing a PR specialist. We will be in touch.

CI: I appreciate the efforts of all involved, particularly during the holidays. I understand your
position re conferral. I guess I could counter by saying, “If we received a compliant log in the
first place, we wouldn’t find ourselves here.” But I won’t say that. The problem I have with
the boiler plate description provided is that it fails to provide any document specific
information. For example, who the ORR or media inquiry came from; what was requested;
when the request was made; what the sender’s involvement in the response process
was. None of this should be privileged but would help us determine if it is something that
justifies a closer look. BMP Jan. 12 update: I sent everyone on this email thread the ORR at
issue by email on 1/11/24 at 8:17 p.m. I believe this issue is now moot.

xREL000074286: Contrary to what you wrote, Ms. Herzog was either a sender or recipient on this correspondence. Mr.
Dial was working for Coffee County and was involved in the correspondence in that capacity. We disagree with your
position. See Hope For Fams. & Cmty. Serv., Inc. v. Warren, 2009 WL 1066525 (M.D. Ala. Apr. 21, 2009) and the cases
cited therein, including Bieter (finding the attorney‐client privilege applied to communications between a consultant and
defendant’s counsel). We are willing to confer further.


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CI: You are correct about Herzog being copied. My oversight. Sorry. As for Mr. Dial’s
involvement, see comments above. We need more information re the reason for his
involvement. BMP: Same comment as above.

CI: Me too. BMP Jan. 12 update: I sent everyone on this email thread the ORR at issue by email
on 1/11/24 at 8:17 p.m. I believe this issue is now moot.


xREL0000075151.000.3—001.0 and xREL00000119591.000.3—001.0: After further review, we agree this email thread
and its attachments are not privileged. We will retrieve these documents as soon as possible and provide them to you.

CI: Pls advise when they will be available. In order to determine they were not privileged, I
would assume you had access to them. So, I do not understand the reason for the delay. Pls
advise. BMP: See my Jan 10, 2024 email (5:15 p.m.) to everyone on this email thread, to
which the documents were attached. Because the size was large, my paralegal Melissa
Boehlke (mboehlke@olivermaner.com) sent you the same documents by sharefile on Jan. 10
at 5:21 p.m.

CI: Ok Thanks.
We will revise the privilege log in accordance with this communication, after we produce the documents
(xREL0000075151.000.3—001.0 and xREL00000119591.000.3—001.0). Thank you for bringing this to our attention and
for giving us the opportunity to conduct a further review of the documents at issue. If you identify other concerns
regarding the privilege log, please reach out and we will work diligently to resolve them.

CI: You email said nothing about the following documents. BMP: both were addressed. See
above. Pls let us know your position as to these as soon as possible. Thank you:

xREL000064575: CCBOER claim AC privilege involving Charles Dial, not a client of HBS to our
knowledge (and if he were, CCBOER’s receipt of AC communications to or from him would
be a waiver), and Tracie Vickers with Coffee County government, with a HBS lawyer copied.
Supposedly, this is privileged because the communication provides advice to a client re an
ORR. As with all similar or identical descriptions, the information provided is too vague to
allow us to assess the claim. More importantly, the lawyer here is merely a CC recipient. And,
as with the immediately preceding document, I do not know how a CC recipient seeks or offers
legal advice. Please produce the document and all others like it. BMP: this item is addressed
above.

xREL000064583: CCBOER claim AC privilege from Tracie Vickers to Charles Dial, not a client
of HBS to our knowledge (and if he were, CCBOER’s receipt of AC communications to or from
him would be a waiver). Here there is no HBS lawyer copied, and there is no hint of any lawyer
offering or any client seeking legal advice. Typically, privileged communications involve an
actual lawyer. Again, this communication involves legal advice regarding an ORR, but no
lawyer is involved. Additionally, the description is too vague to allow us to assess the claim.
Please produce the document and all others like it. BMP: This document was produced (as noted
above; see my January 9 email attachment at p. 6).

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Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Monday, January 8, 2024 1:17 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: RE: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Ben: We have been reviewing the privilege log you provided. It has been quite an
undertaking. Who would have thought that a 17-item, three and one-half page privilege log
could morph into a 311-page document? Rather shocking to say the least.

I do not know if you actually looked at the log before producing it. If you did, I am sure you
know that there are many, many documents listed that do not indicate the slightest indicia
(based upon the description provided) of any privilege whatsoever. I have attached hereto for
your review and information an Excel spreadsheet of 80-something documents we have
identified as plainly non- privileged. Mind you, we are just getting started in our review. So,
these are not all the documents we will be asking you to produce. Also, given that the trial
starts on Tuesday, we ask that you produce these documents immediately.

Starting at the top, xREL000104721: Although CCBOER claim AC privilege, there is no attorney
identified in connection with this document. The document appears to be a communication
between non-clients. To the extent it reveals the content of an AC communication, the privilege
has been waived. Please produce the document and all others like it.

xREL000104756: CCBOER claim AC privilege involving the same sender and recipient as the
previous document, but this one has a HBS lawyer copied. Supposedly, this is privileged
because the communication provides advice to a client re an ORR. The description is too vague
to allow us to assess the claim; more information is required (what ORR request; what is the
general nature of the issue addressed, etc.). More importantly, the lawyer here is merely a CC
recipient. I do not know how a CC recipient seeks or offers legal advice, which is required for
the privilege to attach. Please produce the document and all others like it or provide a more
detailed description.

xREL000064575: CCBOER claim AC privilege involving Charles Dial, not a client of HBS to our
knowledge (and if he were, CCBOER’s receipt of AC communications to or from him would
be a waiver), and Tracie Vickers with Coffee County government, with a HBS lawyer copied.
Supposedly, this is privileged because the communication provides advice to a client re an
ORR. As with all similar or identical descriptions, the information provided is too vague to
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allow us to assess the claim. More importantly, the lawyer here is merely a CC recipient. And,
as with the immediately preceding document, I do not know how a CC recipient seeks or offers
legal advice. Please produce the document and all others like it.

xREL000064583: CCBOER claim AC privilege from Tracie Vickers to Charles Dial, not a client
of HBS to our knowledge (and if he were, CCBOER’s receipt of AC communications to or from
him would be a waiver). Here there is no HBS lawyer copied, and there is no hint of any lawyer
offering or any client seeking legal advice. Typically, privileged communications involve an
actual lawyer. Again, this communication involves legal advice regarding an ORR, but no
lawyer is involved. Additionally, the description is too vague to allow us to assess the claim.
Please produce the document and all others like it.

xREL000064575: CCBOER claim AC privilege involving Charles Dial, not a client of HBS to our
knowledge (and if he were, CCBOER’s receipt of AC communications to or from him would
be a waiver), and Tracie Vickers with Coffee County government, with a HBS lawyer
copied. Supposedly, this is privileged because the communication provides advice to a client
re an ORR. The description is too vague to allow us to assess the claim. More importantly, the
lawyer here is merely a CC recipient. And, as with the immediately preceding document, I do
not know how a CC recipient seeks or offers legal advice. Please produce the document and
all others like it.

xREL000064583: CCBOER claim AC privilege involving Ms. Herzog, a HBS lawyer, and J. Eric
Rich with the U. S. Department of Justice, with Tracie Vickers and James Barnes copied.
Purportedly, this is privileged because the communication provides advice to a client re an
ORR. The description is too vague to allow us to assess the claim. More importantly, the
primary addressee is a non-client. If Ms. Herzog was in fact providing advice to Ms. Vicker
and Mr. Barnes in connection with this communication, the privilege was waived by including
Mr. Rich in the communication. Please produce the document and all others like it.

xREL000061231: CCBOER claim AC privilege involving Elisa Gillis of Georgia Superior Court
Clerks' Cooperative Authority (GSCCCA) and Ms. Herzog. Purportedly, this is
communication is privileged because the communication provides advice to a client re an ORR.
The description is too vague to allow us to assess the claim. More importantly, as far as we are
aware, GSCCCA is not a HBS client, and even if it were, the fact that someone shared the
communication between HBS and GSCCCA with CCBOER waived the privilege. Please
produce the document and all others like it.

xREL000074286: CCBOER claim AC privilege involving Tracie Vickers as sender and Charles
Dial as recipient, neither of whom is an attorney. Purportedly, this is communication is
privileged because the communication provides advice to a client re an ORR. Of course, if no
attorney is involved in the communication, no AC privilege can apply. Also, the description is
too vague to allow us to assess the claim. Please produce the document and all others like it.


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xREL0000075151.000.3—001.0 and xREL00000119591.000.3—001.0 This is a series of email
exchanges between Lee M. Stoy, with the Georgia AG’s office, and Rebecca Ditto of HBS,
purportedly regarding advice re an ORR. Of course, HBS is not representing the State of
Georgia in connection with this matter or in connection with these communications, and Mr.
Stoy is not representing CCBOER. On two of emails, the CCBOER is copied, but being copied
on an email is neither offering nor seeking legal advice. In short, no privilege applies to these
communications. Please produce the document and all others like it.

These twenty-something examples of non-privileged communications are illustrative of the
communications on the attached spread sheet. Please turn over these documents
immediately. Please let me know your intentions by January 9, 2024 (the first day or trial), or I
will file an emergency motion with the Court and will seek sanctions in connection with the
motion.

I await your response.

Sincerely, Cary Ichter




Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Wednesday, January 3, 2024 6:14 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>; Melissa Boehlke <mboehlke@olivermaner.com>
Subject: Service of Privilege Log; Response to Request for Extension of Sanctions Motion Deadline

Dear Cary et al.:


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Happy New Year!
Attached for service is the itemized privilege log which Judge Cheesbro ordered us to provide on or before January 3,
2024. I do not intend to serve a certificate of service unless you feel one is needed.
At this time, I am not able to consent to your request for an extension of time to file a motion for sanctions.
I hope your trial preparations are going well.

Regards,

Ben Perkins
Oliver Maner LLP
912‐238‐2515

From: Ben Perkins <bperkins@olivermaner.com>
Sent: Thursday, December 28, 2023 2:06 PM
To: Cary Ichter <CIchter@IchterDavis.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: Re: Sanctions Motion Deadline

I'm traveling today but will be in touch as soon as I'm able to speak with co‐counsel.

Ben Perkins
Oliver Maner LLP


From: Cary Ichter <CIchter@IchterDavis.com>
Sent: Thursday, December 28, 2023 12:01:09 PM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: RE: Sanctions Motion Deadline

Ben: Any response to this? Cary
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




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From: Cary Ichter
Sent: Tuesday, December 26, 2023 11:58 AM
To: Ben Perkins <bperkins@olivermaner.com>; Marilyn Marks <marilyn@uscgg.org>; Jennifer Dorminey Herzog
<jherzog@hallboothsmith.com>; Wes Rahn <wrahn@olivermaner.com>; Bruce Perrin Brown Esq.
(bbrown@brucepbrownlaw.com) <bbrown@brucepbrownlaw.com>
Cc: Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Nick Kinsley
<NKinsley@hallboothsmith.com>; Anthony A. Rowell <ARowell@hallboothsmith.com>; Jill Connors
<JConnors@IchterDavis.com>
Subject: Sanctions Motion Deadline

Ben: As you know, the Court has given us 30 days from the date of its December 22, 2023
Order to file any motion for sanction related to the subpoenas served on CCBOER in the
Summer of 2022. We would like to move that deadline for two reasons. First, there is no
assurance that all privilege log issues will be resolved by that time. If, for example, the revised
privilege logs give rise to requests for further production or an in camera review, we do not
think a 30 day window will afford us sufficient time to address all pertinent issues.

Additionally, we expect that there is a good chance we will still be trying the Curling matter
on January 22, 2024, and even if we are miraculously finished by January 22, the trial will
have likely consumed all of our available bandwidth in early and mid-January.

We would suggest that we be afforded 14 days following the trial to submit motions
regarding the privilege log. We would report to the Court when the trial ends. If none are
filed, we would be given an additional 14 days to submit any sanctions motion. If any motions
are filed, the Court will indicate in any order resolving any such motion when the sanctions
motion will be due.

Pls let me know if we can report to the Court that you consent to this proposal. Cary
Cary Ichter, Partner
Ichter Davis, LLC
400 Interstate N Pkwy
Suite 860
Atlanta, GA 30339
phone 404.869.5243
fax 404.602.0037
cell 404.769.1353
cichter@IchterDavis.com




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              Declaration of Cary Ichter
                         EXHIBIT D
               Ichter Davis LLC Billing Statements
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Ichter Davis LLC                                                                                      INVOICE
400 Interstate N. Parkway SE, Suite 860                                                                        Invoice # 1083
Atlanta, GA 30339                                                                                            Date: 05/05/2023
United States                                                                                              Due On: 06/04/2023
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com


Coalition for Good Governance



616-003

Secretary of State; State Elections Board; Coffee County

 Services

    Date       Attorney                               Notes                              Quantity      Rate         Total

 04/09/2023   Cary Ichter   Exchange emails with Ms. Marks; Prepare letter to Mr.             0.80    $625.00       $500.00
                            Maguire.

 04/13/2023   Cary Ichter   Exchange messages with Mr. Maguire; exchange emails with          0.30    $625.00       $187.50
                            Ms. Marks.

                                                                                       Services Subtotal            $687.50



 Expenses

   Type         Date                                 Notes                              Quantity      Rate          Total

 Expense      04/14/2023    Postage                                                          1.00          $0.60      $0.60

                                                                                    Expenses Subtotal                 $0.60


                                                                                               Subtotal             $688.10




                                                         Page 1 of 3
    Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 36 of 61
                                                                                                      Invoice # 1083 - 05/05/2023




                                                                                                        Total            $688.10




Detailed Statement of Account

 Other Invoices

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 1808                              12/09/2023                  $20,885.26                               $0.00         $20,885.26

 2046                              01/05/2024                  $28,236.38                               $0.00         $28,236.38

 2403                              02/08/2024                  $14,869.45                               $0.00         $14,869.45

 2486                              03/06/2024                  $11,653.30                               $0.00         $11,653.30


 Interest On Other Invoices

        Original Invoice            Due On               Amount Due                Payments Received              Balance Due

 1808                              01/09/2024                        $0.11                              $0.00              $0.11

 2046                              02/05/2024                        $0.50                              $0.00              $0.50

 1808                              02/08/2024                        $0.11                              $0.00              $0.11

 2046                              03/06/2024                        $0.50                              $0.00              $0.50

 1808                              03/09/2024                        $0.11                              $0.00              $0.11

 2403                              03/10/2024                        $0.01                              $0.00              $0.01


 Current Invoice

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 1083                              06/04/2023                     $688.10                               $0.00            $688.10

                                                                                       Outstanding Balance            $76,333.83

                                                                                Total Amount Outstanding              $76,333.83




Please make all amounts payable to: Ichter Davis LLC


Payment is due within thirty (30) days.   Any delinquent amount will accrue interest at the rate of one and one-half percent
(1.5%) per month.




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                                                                 Invoice # 1083 - 05/05/2023




Ichter Davis LLC                                                       INVOICE
400 Interstate N. Parkway SE, Suite 860                                     Invoice # 1083
Atlanta, GA 30339                                                         Date: 05/05/2023
United States                                                           Due On: 06/04/2023
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com




Pay your invoice online
To pay your invoice, open the camera on your mobile device and
place the QR code in the camera’s view.

Or, click here if you’re viewing on a computer or smartphone.




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Ichter Davis LLC                                                                                        INVOICE
400 Interstate N. Parkway SE, Suite 860                                                                      Invoice # 1808
Atlanta, GA 30339                                                                                          Date: 11/09/2023
United States                                                                                            Due On: 12/09/2023
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com


Coalition for Good Governance



616-003

Secretary of State; State Elections Board; Coffee County

 Services

    Date           Attorney                                 Notes                            Quantity    Rate      Total

 10/07/2023   Cary Ichter           Review various correspondence and press releases             0.80   $625.00    $500.00
                                    regarding Hampton emails; Exchange various emails
                                    with Ms. Marks regarding same.

 10/09/2023   Cary Ichter           Review various emails between team and Mr. Cross;            1.00   $625.00    $625.00
                                    Exchange various emails with Ms. Marks regarding
                                    motion related to Coffee County misrepresentations.

 10/10/2023   Cary Ichter           Exchange emails regarding Coffee County, outcome of          1.50   $625.00    $937.50
                                    mediation, and moving towards trial; Review and revise
                                    statement of dispute prepared by Ms. Marks.

 10/12/2023   Cary Ichter           Review extensive email exchange regarding handling of        1.30   $625.00    $812.50
                                    Coffee County discovery and deception issues;
                                    Exchange emails with Ms. Marks and Mr. Brown.

 10/16/2023   Cary Ichter           Review and revise conferral letter; Circulate same and       3.00   $625.00   $1,875.00
                                    make changes suggested by team; Prepare email to Mr.
                                    Cross regarding conferral letter; Exchange emails
                                    regarding trial preparation; Begin work on Motion to




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                                                                                         Invoice # 1808 - 11/09/2023




                            Compel Discovery for Coffee County.

10/17/2023   Cary Ichter    Review various emails regarding Coffee County motion         3.00   $625.00   $1,875.00
                            to compel from Mr. Cross, Mr. Brown, Mr. MaGuire,
                            and Ms. Marks; Review, revise, and finalize letter to
                            Ms. Herzog; Continued work on Motion to Compel;
                            Circulate same.

10/20/2023   Cary Ichter    Review and revise Motion to Compel; Exchange emails          1.30   $625.00    $812.50
                            with Ms. Marks; Prepare email to Mr. Cross.

10/23/2023   Jill Connors   Detailed proofread of Motion to Compel; Prepare              4.50   $225.00   $1,012.50
                            exhibits and slip sheets; Proofread, double and triple
                            check exhibit references to ensure accuracy; Telephone
                            call to Southern District of Georgia Court Clerk
                            regarding Miscellaneous Filing and procedure for same
                            (x3); Exchange emails with Ms. Marks regarding
                            questions as to exhibits; Prepare signature blocks;
                            Exchange emails inquiring as to name of counsel for
                            CCBOER; Finalize draft Motion to Compel and exhibits
                            for circulation with noted questions/comments needing
                            attorney attention.

10/23/2023   Jill Connors   Research regarding service of Motion to Compel filed         0.50   $225.00    $112.50
                            as Miscellaneous Action; Email to Mr. Ichter regarding
                            same.

10/23/2023   Jill Connors   Review local rules regarding emergency and/or                3.50   $225.00    $787.50
                            expedited procedures related to filings and email
                            attorneys for Plaintiffs regarding same; Proofread, edit
                            and circulate draft Emergency Motion; Receive edits
                            and comments from attorneys; Incorporate edits and
                            make additional redlines; Recirculate; Finalize;
                            Telephone call to Clerk's office (Brunswick Division);
                            Finalize all documents to be filed, prepare cover letter
                            to be sent to the Clerk with filings; Fedex hard copies of
                            filings to the Clerk of Brunswick Division; Statutory
                            Electronic Service of all documents submitted for filing.

10/23/2023   Cary Ichter    Review various changes to Motion to Compel; Draft            1.50   $625.00    $937.50
                            Motion to Expedite Consideration of Motion to Compel;
                            Draft Motion to Expedite Consideration of Motion to
                            Compel.

10/24/2023   Jill Connors   Review federal rules, comments and articles regarding        2.30   $225.00    $517.50
                            particular issues relating to service of Motion to
                            Compel; Conference with Mr. Ichter regarding same;
                            Exchange emails with Ms. Marks regarding service on
                            CCBOER; Serve Curling counsel with Motion to
                            Compel and Emergency Motion; Send follow-up email
                            to Ms. Herzog regarding acknowledgment of service;
                            Send email to Mr. Rowell and Mr. Perkins regarding
                            acknowledgment of service; Exchange additional emails
                            with Mr. Perkins; Email updates to Ms. Marks.

10/24/2023   Cary Ichter    Various communications with Ms. Connors and Ms.              0.80   $625.00    $500.00
                            Marks regarding status of filing and service; Telephone




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  Case 5:23-mc-00001-LGW-BWC Document 60-9 Filed 02/20/24 Page 40 of 61
                                                                                               Invoice # 1808 - 11/09/2023




                                  call with Mr. Hecht regarding Coffee County situation.

10/25/2023   Jill Connors         Continue downloading file-stamped pleadings received         0.60   $225.00    $135.00
                                  from Southern District, update client file and distribute
                                  copies of same to co-counsel.

10/25/2023   Jill Connors         Continued review of relevant federal rules of civil          0.90   $225.00    $202.50
                                  procedure and local rules regarding Motions to Compel,
                                  enforcement of subpoenas, and service; Prepare
                                  Acknowledgment of Service draft for attorney team
                                  review; Prepare email to attorney team regarding
                                  service and acknowledgment.

10/25/2023   Cary Ichter          Review various emails regarding service from Ms.             0.80   $625.00    $500.00
                                  Connors; Exchange emails with team regarding judge.

10/26/2023   Jill Connors         Research regarding Judge L. G. Wood; Prepare email to        0.90   $225.00    $202.50
                                  C. Ichter regarding same with articles, information and
                                  links.

10/26/2023   Cary Ichter          Telephone call with Mr. Perkins; Exchange emails with        0.80   $625.00    $500.00
                                  Ms. Mixon with the Court; Review Order and other
                                  documents from the Court; Exchange emails with Ms.
                                  Marks.

10/27/2023   Courtney Francisco   Confer with J. Connors regarding pro hac vice petitions.     0.10   $200.00     $20.00

10/27/2023   Jill Connors         Exchange emails and telephone calls with Mr. Ichter          3.60   $225.00    $810.00
                                  and Mr. Brown regarding PHV Applications for
                                  Southern District of Georgia; Travel to Northern
                                  District of Georgia Clerk's Office to request and obtain
                                  certificates of good standing for Mr. Brown and Mr.
                                  Ichter; Return travel to office; Complete Applications
                                  for Pro Hac Vice admission for both attorneys; Efile
                                  Mr. Ichter's application; Telephone call to Southern
                                  District of Georgia Clerk's Office regarding filings (x2).

10/27/2023   Jill Connors         Prepare Notice of Appearance of William Daniel Davis         0.50   $225.00    $112.50
                                  for filing in Southern District of Georgia matter.

10/27/2023   Jill Connors         Review online docket; Update case contacts for               0.40   $225.00     $90.00
                                  notifications; Calendar upcoming dates and deadlines in
                                  case.

10/27/2023   Cary Ichter          Exchange emails with Ms. Marks regarding scheduling;         0.50   $625.00    $312.50
                                  Exchange emails with team regarding Pro Hac Vice;
                                  Exchange emails with Ms. Mixon regarding content of
                                  upcoming conference call with the Court.

10/28/2023   Dimeji Ogunsola      Research basis for obtaining ESI disclosed to state          3.10   $450.00   $1,395.00
                                  criminal investigators and email Mr. Ichter analysis.

10/29/2023   Cary Ichter          Review email from Mr. Ogunsola regarding research            0.50   $625.00    $312.50
                                  regarding obtaining ESI from GBI or Coffee County;
                                  Respond to same.

10/30/2023   Dimeji Ogunsola      Follow up research regarding obtaining ESI disclosed to      2.90   $450.00   $1,305.00
                                  state criminal investigators.




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                                                                                                     Invoice # 1808 - 11/09/2023




10/31/2023   Jill Connors             Telephone call to Brunswick Division regarding recent          0.20   $225.00        $45.00
                                      filing; Review file and update.

10/31/2023   Jill Connors             Update client file with Text Entry granting C. Ichter's        1.50   $225.00       $337.50
                                      Motion for PHV Admission; Follow up email to Mr.
                                      Brown regarding his application; Search docket for list
                                      of cases Mr. Brown appeared in; Update list and send to
                                      Mr. Brown for approval; Finalize application and
                                      prepare for and efile same; Update client file and send
                                      copies of file-stamped documents to Mr. Brown.

10/31/2023   Jill Connors             Forward Court's email to Ms. Marks regarding                   0.10   $225.00        $22.50
                                      participation in tomorrow's scheduling conference.

10/31/2023   Jill Connors             Email team regarding whether Ms. Marks is attending            0.10   $225.00        $22.50
                                      conference tomorrow and potential need to inform the
                                      Court.

11/01/2023   Jill Connors             Update client file with Notices of Appearance of               0.20   $225.00        $45.00
                                      Herzog, Kinsley, and Rowell for CCBOER; Receive
                                      email from Court regarding upcoming telephone
                                      conference instructions, reply to email and forward
                                      relevant information to Ms. Marks.

11/01/2023   Cary Ichter              Telephone conference with Ms. Marks; Prepare for               5.00   $625.00      $3,125.00
                                      hearing with Magistrate Judge; Telephone conference
                                      with Mr. H. Knapp; Review motion and subpoenas;
                                      Review list of material CCBOER is required to retain.

                                                                                            Services Subtotal           $20,800.00



Expenses

  Type         Date                                     Notes                                 Quantity      Rate          Total

Expense      10/27/2023     Court fees: Certificate of Good Standing from NDGA for                1.00      $20.00         $20.00
                            PHV Application for Cary Ichter.

Expense      10/27/2023     Court fees: Certificate of Good Standing from NDGA for                1.00      $20.00         $20.00
                            PHV Application for Bruce Brown.

Expense      10/27/2023     Court fees: Parking fee for visit to NDGA Clerk's office to           1.00          $2.00        $2.00
                            obtain certificates of good standing in an expedited manner.

Expense      10/27/2023     Postage                                                               1.00          $1.26        $1.26

Expense      10/30/2023     Filing fee: Cert of Admission                                         1.00      $40.00         $40.00

Expense      10/30/2023     Travel expenses: Parking Fee                                          1.00          $2.00        $2.00

                                                                                           Expenses Subtotal               $85.26


                                                                                                    Subtotal            $20,885.26




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                                                                                               Invoice # 1808 - 11/09/2023




Interest

  Type           Date                                            Description                                     Total

Interest      12/10/2023   Interest on overdue invoice #1808                                                       $0.11

Interest      01/09/2024   Interest on overdue invoice #1808                                                       $0.11

Interest      02/08/2024   Interest on overdue invoice #1808                                                       $0.11



                                                                                      Interest Subtotal            $0.33


                                                                                              Subtotal        $20,885.26

                                                                                               Interest            $0.33

                                                                                                   Total      $20,885.59



Detailed Statement of Account

Other Invoices

       Invoice Number              Due On             Amount Due               Payments Received           Balance Due

1083                             06/04/2023                      $688.10                           $0.00         $688.10

2046                             01/05/2024                    $28,236.38                          $0.00      $28,236.38

2403                             02/08/2024                    $14,869.45                          $0.00      $14,869.45

2486                             03/06/2024                    $11,653.30                          $0.00      $11,653.30


Interest On Other Invoices

       Original Invoice            Due On             Amount Due               Payments Received           Balance Due

2046                             02/05/2024                         $0.50                          $0.00           $0.50

2046                             03/06/2024                         $0.50                          $0.00           $0.50

2403                             03/10/2024                         $0.01                          $0.00           $0.01


Current Invoice

       Invoice Number              Due On             Amount Due               Payments Received           Balance Due

1808                             12/09/2023                    $20,885.59                          $0.00      $20,885.59

                                                                                  Outstanding Balance         $76,333.83




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                                                                                                      Invoice # 1808 - 11/09/2023




                                                                                Total Amount Outstanding              $76,333.83




Please make all amounts payable to: Ichter Davis LLC


Payment is due within thirty (30) days.   Any delinquent amount will accrue interest at the rate of one and one-half percent
(1.5%) per month.




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                                                                 Invoice # 1808 - 11/09/2023




Ichter Davis LLC                                                       INVOICE
400 Interstate N. Parkway SE, Suite 860                                     Invoice # 1808
Atlanta, GA 30339                                                         Date: 11/09/2023
United States                                                           Due On: 12/09/2023
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com




Pay your invoice online
To pay your invoice, open the camera on your mobile device and
place the QR code in the camera’s view.

Or, click here if you’re viewing on a computer or smartphone.




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Ichter Davis LLC                                                                                      INVOICE
400 Interstate N. Parkway SE, Suite 860                                                                    Invoice # 2046
Atlanta, GA 30339                                                                                        Date: 12/06/2023
United States                                                                                          Due On: 01/05/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com


Coalition for Good Governance



616-003

Secretary of State; State Elections Board; Coffee County

 Services

    Date       Attorney                                 Notes                              Quantity   Rate       Total

 11/02/2023   Cary Ichter    Exchange emails with Ms. Marks and Mr. Perkins.                   0.50   $625.00    $312.50

 11/03/2023   Cary Ichter    Review and revise emails with Ms. Marks; Prepare email to         1.00   $625.00    $625.00
                             Mr. Perkins; Review press reports on Coffee County fiasco.

 11/05/2023   Cary Ichter    Review email and revised subpoena from Ms. Marks;                 2.50   $625.00   $1,562.50
                             Review press release regarding GBI report; Review prep
                             memo for conference call; Conference call with Ms. Marks
                             and Mr. Knapp.

 11/06/2023   Jill Connors   Review file for exhibits from Misty Hampton's deposition in       0.20   $225.00     $45.00
                             Curling matter and send to Mr. Ichter; Update Coffee County
                             file with same for ease of future reference.

 11/06/2023   Jill Connors   Exchange emails with Ms. Marks regarding communication            0.20   $225.00     $45.00
                             and task assignment logistics.

 11/06/2023   Jill Connors   Exchange emails with Ms. Marks regarding service of               0.10   $225.00     $22.50
                             Motion to Compel on Curling parties which has been
                             completed.




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                                                                                           Invoice # 2046 - 12/06/2023




11/06/2023   Cary Ichter    Review agenda for meeting with Mr. Perkins; Exchange          2.80   $625.00   $1,750.00
                            emails and text messages with Ms. Marks; Attend Teams
                            conference call with Ms. Marks, opposing counsel, and Mr.
                            Knapp.

11/06/2023   Cary Ichter    Review GBI Order and circulate.                               0.30   $625.00     $187.50

11/07/2023   Cary Ichter    Exchange emails with Ms. Marks and Mr. Perkins regarding      0.50   $625.00     $312.50
                            effect of Judge Totenberg's GBI Order on Coffee County
                            matter; Exchange additional emails with Mr. Perkins and Ms.
                            Marks regarding Ms. Hampton's laptops.

11/08/2023   Cary Ichter    Exchange emails with Ms. Marks and Mr. Perkins; Various       2.50   $625.00   $1,562.50
                            communications with Ms. Marks regarding status report;
                            Telephone call with Mr. Perkins regarding laptops; Review
                            and revise status report and forward to Mr. Perkins; Review
                            Mr. Sparks changes and send email to Mr. Sparks.

11/09/2023   Jill Connors   Review email from Ms. Marks regarding need for Mr.            0.40   $225.00      $90.00
                            Perkins to file Notice of Intent to Serve Subpoena; Quick
                            review of relevant rules; Exchange additional emails with
                            Mr. Ichter and team regarding same.

11/09/2023   Cary Ichter    Exchange emails with court regarding status conference;       0.50   $625.00     $312.50
                            Exchange emails with Ms. Marks.

11/10/2023   Cary Ichter    Exchange various emails with Ms. Marks; Prepare multiple      1.50   $625.00     $937.50
                            emails to Mr. Perkins; Review response from GBI; Forward
                            email regarding same; Email to Mr. Perkins regarding search
                            terms.

11/11/2023   Cary Ichter    Exchange various emails with Ms. Marks regarding              0.30   $625.00     $187.50
                            communications with CCBOER; Review emails from Mr.
                            Perkins.

11/12/2023   Cary Ichter    Exchange emails with Ms. Marks regarding upcoming status      0.50   $625.00     $312.50
                            conference with Court; Exchange emails with Mr. Knapp;
                            Review exchange between Ms. Marks and Mr. Knapp.

11/13/2023   Jill Connors   Review and exchange multiple emails and text messages         0.60   $225.00     $135.00
                            with Ms. Marks and Mr. Ichter in preparation for status
                            conference mid-week; Telephone call with Ms. Marks
                            regarding planning for and attendance at same.

11/13/2023   Cary Ichter    Review various communications with Ms. Marks and              0.50   $625.00     $312.50
                            between Ms. Marks and Mr. Perkins regarding the Northern
                            District of Georgia Summary Judgment Order and GBI
                            response.

11/14/2023   Jill Connors   Participate in telephone conference with Ms. Marks, Mr.       1.00   $225.00     $225.00
                            Ichter, and Mr. Sparks in preparation for upcoming status
                            conference with the Court; Review and clean up notes taken
                            and save to file.

11/14/2023   Cary Ichter    Teams conference call with Ms. Marks and Mr. Sparks to        0.80   $625.00     $500.00
                            prepare for status conference tomorrow.

11/15/2023   Jill Connors   Participate as listener in SDGA Status Conference and take    1.60   $225.00     $360.00




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                                                                                            Invoice # 2046 - 12/06/2023




                            notes; Review and organize notes following call; Distribute
                            notes to team; Calendar follow up date regarding GBI
                            desktop image production for Mr. Ichter.

11/15/2023   Cary Ichter    Exchange text messages with Ms. Marks; Prepare for status      3.00   $625.00   $1,875.00
                            conference with Court; Appear at status conference; Prepare
                            email to Mr. Perkins regarding declarations of Coffee County
                            personnel; Prepare email to Ms. Mixon regarding November
                            17 status conference.

11/16/2023   Cary Ichter    Various email exchanges with Ms. Marks; Prepare various        1.50   $625.00     $937.50
                            emails to Mr. Perkins; Conference with Ms. Connors.

11/17/2023   Cary Ichter    Various communications with Ms. Marks and Mr. Perkins          3.30   $625.00   $2,062.50
                            and Mr. Knapp; Teams conference with Mr. Perkins, Ms.
                            Marks, and Mr. Knapp; Prepare for hearing with the court
                            regarding Motion to Compel; Attend hearing; Various
                            communications with Ms. Marks following hearing.

11/19/2023   Cary Ichter    Exchange various emails with Ms. Marks and Mr. Brown;          0.50   $625.00     $312.50
                            Prepare email to Mr. Perkins.

11/20/2023   Cary Ichter    Review and exchange various emails regarding production of     1.80   $625.00   $1,125.00
                            desktop ESI to Mr. Perkins; Exchange emails with Ms.
                            Marks regarding status report to court; Exchange emails with
                            Mr. Perkins regarding getting image from GBI; Telephone
                            call with Ms. Marks; Review and exchange multiple emails
                            regarding PII.

11/20/2023   Jill Connors   Respond to email from Ms. Marks with status conference         0.10   $225.00      $22.50
                            call-in information.

11/21/2023   Cary Ichter    Telephone call with Ms. Marks; Review and revise Status        2.80   $625.00   $1,750.00
                            Report; Email to Mr. Knapp and Ms. Sparks; Review Mr.
                            Sparks' revisions and forward report to Mr. Perkins for
                            Defendant's contributions; Review and exchange various
                            emails with Mr. Perkins.

11/21/2023   Jill Connors   Distribute call-in instructions for court status conference    0.10   $225.00      $22.50
                            participants.

11/21/2023   Jill Connors   Exchange various emails with Ms. Platt regarding changes to    0.30   $225.00      $67.50
                            Hookah supplier.

11/22/2023   Jill Connors   Review email from Mr. Ichter to opposing counsel regarding     0.20   $225.00      $45.00
                            filing of status report; Efile status report.

11/22/2023   Cary Ichter    Exchange emails with Ms. Marks and Mr. Perkins; Exchange       3.50   $625.00   $2,187.50
                            emails with Mr. Skoglund; Finalize status report and serve
                            same on Court; Prepare for hearing with Ms. Marks;
                            Participate in conference call hearing with Judge Cheesbro.

11/24/2023   Cary Ichter    Exchange various emails with Ms. Marks regarding search        0.50   $625.00     $312.50
                            terms and briefing schedule.

11/26/2023   Cary Ichter    Exchange emails with Mr. Brown, Mr. Cross, and Ms. Marks       0.50   $625.00     $312.50
                            regarding settlement, strategy, and research.




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11/27/2023   Jill Connors   Review and organize emails exchanged during Thanksgiving        0.70   $225.00     $157.50
                            holiday; Update client folder with new pleadings filed and
                            with important email exchanges for attorney review;
                            Download documents produced by Coffee County.

11/28/2023   Jill Connors   Email Mr. Ichter regarding signature lines for Notice of        0.60   $225.00     $135.00
                            Filing Exhibits (inadvertently omitted from Status Report
                            previously filed); Receive response; Prepare Notice of Filing
                            Exhibits, along with the exhibits and efile same; Update
                            client file.

11/28/2023   Cary Ichter    Review emails from Ms. Marks and Mr. Sparks regarding           1.00   $625.00     $625.00
                            time period covered by subpoena; Exchange emails with Mr.
                            Rahn; Review Court Order scheduling briefing on elements
                            of motion to compel.

11/29/2023   Jill Connors   Review new filings received from court and update client        0.20   $225.00      $45.00
                            file; Calendar Reply due date with reminders.

11/29/2023   Cary Ichter    Review emails from opposing counsel and Ms. Marks.              0.30   $625.00     $187.50

11/30/2023   Jill Connors   Check case docket online; Email docket to Ms. Marks; Share      0.40   $225.00      $90.00
                            Dropbox file of pleadings with Ms. Marks to ensure client
                            receipt of all new filings; Update efile portal to make Ms.
                            Marks a recipient of all filings in CCBOER case.

11/30/2023   Cary Ichter    Exchange emails with Ms. Marks; Prepare email to Ms.            0.80   $625.00     $500.00
                            Mixon regarding email to court regarding status; Review
                            CCBOER brief on privilege log issue.

12/01/2023   Jill Connors   Incorporate edits and redlines of Ms. Marks and Mr. Ichter      1.30   $225.00     $292.50
                            into working draft of Status Report on Email Search;
                            Proofread to ensure all edits have been properly made;
                            Prepare slip sheets for Exhibits 1-8; Telephone call with Ms.
                            Marks; Exchange text messages and emails with Ms. Marks
                            and Mr. Ichter; Finalize Status Report and compile exhibits;
                            Prepare email to Court and transmit final Status Report to
                            Ms. Mixon.

12/01/2023   Cary Ichter    Review and revise status report; Review exhibits; Prepare       3.50   $625.00   $2,187.50
                            email to Ms. Mixon; Exchange emails and text messages
                            with Ms. Connors and Ms. Marks.

12/03/2023   Cary Ichter    Prepare reply to response to Motion to Compel regarding         3.80   $625.00   $2,375.00
                            privilege log.

12/04/2023   Jill Connors   Attention to redaction of exhibits to Status Report on Email    1.50   $225.00     $337.50
                            Searches; Update Certificate of Service; Email to Mr. Ichter
                            explaining redactions and edit made to the Status Report;
                            Exchange additional emails with Mr. Ichter and Ms. Marks;
                            Finalize and efile Status Report; Send email to Ms. Mixon
                            and counsel of record; Proofread draft Reply to Response re
                            Privilege Log and distribute updated draft of same.

12/04/2023   Jill Connors   Review my notes from 11/15/23 Conference with the Court;        0.30   $225.00      $67.50
                            Review date Defendant's submitted Response Brief regarding
                            Privilege Log; Calendar Reply date per my notes of Court's




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                           directives; Text message to Ms. Marks regarding same.

                                                                                    Services Subtotal             $27,830.00



Expenses

  Type         Date                                  Notes                            Quantity       Rate           Total

Expense      11/30/2023   Court Costs: Court Costs                                         1.00      $200.00        $200.00

Expense      11/30/2023   Court Costs: Court Costs                                         1.00      $200.00        $200.00

Expense      12/05/2023   Westlaw: Westlaw                                                 1.00           $6.38        $6.38

                                                                                   Expenses Subtotal                $406.38


                                                                                             Subtotal             $28,236.38




Interest

  Type         Date                                             Description                                         Total

Interest     01/06/2024   Interest on overdue invoice #2046                                                            $0.50

Interest     02/05/2024   Interest on overdue invoice #2046                                                            $0.50



                                                                                     Interest Subtotal                 $1.00


                                                                                             Subtotal             $28,236.38

                                                                                              Interest                 $1.00

                                                                                                  Total           $28,237.38



Detailed Statement of Account

Other Invoices

       Invoice Number             Due On             Amount Due               Payments Received              Balance Due

1083                            06/04/2023                      $688.10                           $0.00             $688.10

1808                            12/09/2023                    $20,885.26                          $0.00           $20,885.26

2403                            02/08/2024                    $14,869.45                          $0.00           $14,869.45




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                                                                                                      Invoice # 2046 - 12/06/2023




 2486                              03/06/2024                  $11,653.30                               $0.00         $11,653.30


 Interest On Other Invoices

        Original Invoice            Due On               Amount Due                Payments Received              Balance Due

 1808                              01/09/2024                        $0.11                              $0.00              $0.11

 1808                              02/08/2024                        $0.11                              $0.00              $0.11

 1808                              03/09/2024                        $0.11                              $0.00              $0.11

 2403                              03/10/2024                        $0.01                              $0.00              $0.01


 Current Invoice

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 2046                              01/05/2024                  $28,237.38                               $0.00         $28,237.38

                                                                                       Outstanding Balance            $76,333.83

                                                                                Total Amount Outstanding              $76,333.83




Please make all amounts payable to: Ichter Davis LLC


Payment is due within thirty (30) days.   Any delinquent amount will accrue interest at the rate of one and one-half percent
(1.5%) per month.




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                                                                 Invoice # 2046 - 12/06/2023




Ichter Davis LLC                                                       INVOICE
400 Interstate N. Parkway SE, Suite 860                                     Invoice # 2046
Atlanta, GA 30339                                                         Date: 12/06/2023
United States                                                           Due On: 01/05/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com




Pay your invoice online
To pay your invoice, open the camera on your mobile device and
place the QR code in the camera’s view.

Or, click here if you’re viewing on a computer or smartphone.




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Ichter Davis LLC                                                                                        INVOICE
400 Interstate N. Parkway SE, Suite 860                                                                      Invoice # 2403
Atlanta, GA 30339                                                                                          Date: 01/09/2024
United States                                                                                            Due On: 02/08/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com


Coalition for Good Governance



616-003

Secretary of State; State Elections Board; Coffee County

 Services

    Date       Attorney                                  Notes                               Quantity   Rate       Total

 11/06/2023   Cary Ichter    Review GBI order and circulate.                                     0.30   $625.00    $187.50

 12/04/2023   Cary Ichter    Review and revise Reply regarding Privilege Log Issue;              2.00   $625.00   $1,250.00
                             Exchange various emails with Ms. Marks.

 12/05/2023   Jill Connors   Exchange emails regarding possible emergency motion and             0.20   $225.00     $45.00
                             tasks needing my attention.

 12/05/2023   Cary Ichter    Review comments on Reply brief regarding privilege log;             3.00   $625.00   $1,875.00
                             Circulate revised version of brief.

 12/06/2023   Jill Connors   Exchange emails with Ms. Marks; Review exhibits for                 2.50   $225.00    $562.50
                             redaction; Review draft brief and compare with proposed
                             exhibits to ensure correct; Redact exhibits as necessary and
                             prepare final exhibits C-L with slip sheets; Additional email
                             and text exchanges with Ms. Marks and Mr. Ichter regarding
                             finalization of Reply Brief; Review emails from Curling
                             counsel regarding whether they will join in as signatories to
                             the Reply Brief; Finalize Reply Brief and additional exhibits
                             and efile same; Email copy of file-stamped brief to Ms.




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                                                                                                Invoice # 2403 - 01/09/2024




                            Marks.

12/06/2023   Cary Ichter    Receive input from co-counsel on Reply brief; Review and           3.00   $625.00   $1,875.00
                            revise modifications to Reply from Ms. Marks; Various
                            communications with Ms. Connors regarding Reply.

12/07/2023   Jill Connors   Exchange emails with Ms. Marks and Mr. Ichter; Update              1.00   $225.00     $225.00
                            client file with Response Brief regarding Third Parties and
                            Respons Brief regarding Silver Laptop; Send copies of same
                            to client; Print copies of same for Mr. Ichter's review and use
                            in preparing Reply; Review Court's prior orders to determine
                            due date for Reply briefs; Calendar Reply brief due dates.

12/07/2023   Jill Connors   Prepare draft Request for Hearing and Draft Rule Nisi; Send        0.60   $225.00     $135.00
                            to Mr. Hawkins for review; Finalize same and e-file and
                            serve on opposing counsel; Review email from Mr. Butler in
                            response.

12/07/2023   Cary Ichter    Various communications with Mr. Perkins, Ms. Marks and             1.50   $625.00     $937.50
                            Mr. Brown.

12/08/2023   Jill Connors   Organize file with Court status conference-related                 0.70   $225.00     $157.50
                            documents; Exchange messages with Ms. Conway regarding
                            upcoming submission by Curling Plaintiff.

12/08/2023   Jill Connors   Misc. office related activities such as ordering new monitor       1.40   $225.00     $315.00
                            for C. Ichter's computer; Recieve supply order and replenish
                            soft drinks and organize office; Returns for C. Ichter.

12/08/2023   Cary Ichter    Exchange emails with Ms. Marks, Mr. Knapp, and Mr.                 0.80   $625.00     $500.00
                            Sparks; Review emails between Ms. Marks and Mr. Perkins.

12/10/2023   Cary Ichter    Review and revise first draft of Reply on Laptop issue.            3.80   $625.00   $2,375.00

12/11/2023   Jill Connors   Review local rules regarding page limits and font; Email to        0.40   $225.00      $90.00
                            Plaintiffs' attorney team.

12/13/2023   Jill Connors   Proofread, prepare exhibits and slip sheets, finalize and e-file   2.60   $225.00     $585.00
                            Reply Brief regarding Silver Laptop; Proofread, prepare
                            exhibits and slip sheets, finalize and e-file Reply Brief
                            regarding Documents in Possession of Third Parties; Send
                            copies of file-stamped documents to Ms. Marks; Serve copies
                            of filed documents on opposing counsel via e-mail; Update
                            client file with file-stamped documents and rename for file
                            organizational purposes.

12/13/2023   Cary Ichter    Review and revise laptop brief; Text messages to Ms.               1.30   $625.00     $812.50
                            Connors regarding filing; Email to Ms. Marks regarding
                            status; Finalize laptop brief.

12/13/2023   Jill Connors   Update file with additional filings received.                      0.10   $225.00      $22.50

12/14/2023   Jill Connors   Receive Clerk's notice regarding signature line; Email to          0.30   $225.00      $67.50
                            counsel team; Telephone call to Ms. Mixon and receive
                            additional call in response; Email to team regarding no
                            changes needed.

12/14/2023   Cary Ichter    Review exchange of emails regarding filing of briefs.              0.50   $625.00     $312.50




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                                                                                                      Invoice # 2403 - 01/09/2024




12/18/2023    Jill Connors    Review federal rules and local rules regarding Sur-Replies            0.50    $225.00        $112.50
                              and report back to team; Check Court's Standing Order as
                              well regarding same.

12/19/2023    Cary Ichter     Review filing of notice of intent to file brief; Exchange             0.50    $625.00        $312.50
                              emails and telephone conference with firm team and Ms.
                              Marks.

12/21/2023    Jill Connors    Telephone call (x2) to Ms. Mixon in Judge Chesebro's                  0.50    $225.00        $112.50
                              chambers regarding Court's stance on Sur-Replies;
                              Additional review of local rules; Email to team.

12/21/2023    Cary Ichter     Review Notice of Intent to File Sur Reply for two issues and          0.80    $625.00        $500.00
                              Sur Reply on privilege log issue.

12/24/2023    Jill Connors    Calendar upcoming due dates for Plaintiffs' Response and              0.20    $225.00         $45.00
                              Defendant's Reply.

12/25/2023    Cary Ichter     Exchange emails with Ms. Marks; Review Court Order.                   1.30    $625.00        $812.50

12/26/2023    Cary Ichter     Exchange of emails with Ms. Marks regarding sanctions                 0.50    $625.00        $312.50
                              motion; Email to Mr. Perkins regarding extension of time.

12/29/2023    Jill Connors    Review recent filings for 11th Circuit cases to confirm all           0.50    $225.00        $112.50
                              have been saved to client file (from 12.21.23 through
                              present); Update client files for attorney review.

12/29/2023    Cary Ichter     Exchange emails with Ms. Marks.                                       0.30    $625.00        $187.50

01/04/2024    Jill Connors    Update client file with Coffee County's updated privilege             0.10    $225.00         $22.50
                              log; Review exchange of emails regarding same.

                                                                                             Services Subtotal           $14,860.00



Expenses

  Type          Date                                    Notes                                 Quantity      Rate           Total

Expense      12/06/2023      Photocopies                                                          63.00          $0.15        $9.45

                                                                                            Expenses Subtotal                 $9.45


                                                                                                     Subtotal            $14,869.45




Interest

  Type          Date                                              Description                                              Total

Interest     02/09/2024      Interest on overdue invoice #2403                                                                $0.01



                                                                                             Interest Subtotal                $0.01




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                                                                                                      Invoice # 2403 - 01/09/2024




                                                                                                    Subtotal          $14,869.45

                                                                                                     Interest              $0.01

                                                                                                        Total         $14,869.46



Detailed Statement of Account

 Other Invoices

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 1083                              06/04/2023                     $688.10                               $0.00            $688.10

 1808                              12/09/2023                  $20,885.26                               $0.00         $20,885.26

 2046                              01/05/2024                  $28,236.38                               $0.00         $28,236.38

 2486                              03/06/2024                  $11,653.30                               $0.00         $11,653.30


 Interest On Other Invoices

        Original Invoice            Due On               Amount Due                Payments Received              Balance Due

 1808                              01/09/2024                        $0.11                              $0.00              $0.11

 2046                              02/05/2024                        $0.50                              $0.00              $0.50

 1808                              02/08/2024                        $0.11                              $0.00              $0.11

 2046                              03/06/2024                        $0.50                              $0.00              $0.50

 1808                              03/09/2024                        $0.11                              $0.00              $0.11


 Current Invoice

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 2403                              02/08/2024                  $14,869.46                               $0.00         $14,869.46

                                                                                       Outstanding Balance            $76,333.83

                                                                                Total Amount Outstanding              $76,333.83




Please make all amounts payable to: Ichter Davis LLC


Payment is due within thirty (30) days.   Any delinquent amount will accrue interest at the rate of one and one-half percent
(1.5%) per month.




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                                                                 Invoice # 2403 - 01/09/2024




Ichter Davis LLC                                                       INVOICE
400 Interstate N. Parkway SE, Suite 860                                     Invoice # 2403
Atlanta, GA 30339                                                         Date: 01/09/2024
United States                                                           Due On: 02/08/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com




Pay your invoice online
To pay your invoice, open the camera on your mobile device and
place the QR code in the camera’s view.

Or, click here if you’re viewing on a computer or smartphone.




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Ichter Davis LLC                                                                                         INVOICE
400 Interstate N. Parkway SE, Suite 860                                                                       Invoice # 2486
Atlanta, GA 30339                                                                                           Date: 02/05/2024
United States                                                                                             Due On: 03/06/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
https://ichterdavis.com


Coalition for Good Governance



616-003

Secretary of State; State Elections Board; Coffee County

 Services

    Date       Attorney                                  Notes                                Quantity   Rate       Total

 01/05/2024   Cary Ichter    Exchange emails with Ms. Marks regarding privilege log;              0.50   $625.00    $312.50
                             Review summary of log.

 01/07/2024   Cary Ichter    Review privilege log; Prepare email to Mr. Perkins regarding         2.50   $625.00   $1,562.50
                             issues with privilege log.

 01/08/2024   Cary Ichter    Exchange text messages with Ms. Marks; Finalize email to             3.80   $625.00   $2,375.00
                             Mr. Perkins regarding privilege issues; Prepare motion for
                             extension of time to file sanctions Motion; Take comments
                             and finalize same.

 01/09/2024   Jill Connors   Prepare exhibits to Motion for Extension; Edit signature lines       1.20   $225.00    $270.00
                             and send to Ms. Marks for final approval; Exchange
                             numerous communications regarding whether Motion should
                             be filed as Plaintiffs' Joint Motion or just a motion of
                             Plaintiff Coalition for Good Governance; Email to Mr.
                             Knapp regarding same requesting confirmation.

 01/09/2024   Cary Ichter    Exchange various emails regarding filing final version of            0.50   $625.00    $312.50
                             motion; Exchange emails with Mr. Knapp and Ms. Marks.




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                                                                                             Invoice # 2486 - 02/05/2024




01/11/2024   Jill Connors   Receive production from CCBOER and update client file           0.20   $225.00      $45.00
                            with documents and transmission email explaining same.

01/11/2024   Cary Ichter    Complete email to Mr. Perkins regarding Coffee County           1.00   $625.00     $625.00
                            revised privilege log; Email to Ms. Marks regarding same.

01/12/2024   Cary Ichter    Exchange emails with Mr. Perkins regarding privilege issues.    0.50   $625.00     $312.50

01/18/2024   Cary Ichter    Review email from Mr. Perkins; Review new privilege log;        1.00   $625.00     $625.00
                            Prepare email to Mr. Perkins regarding same; Exchange
                            email with Ms. Connors regarding Reply Brief; Review
                            Court Order extending time; Prepare email to Ms. Connors
                            and Ms. Marks.

01/18/2024   Jill Connors   Update client file with recent pleadings filed; Review local    0.50   $225.00     $112.50
                            rules regarding submission of reply briefs; Email to attorney
                            team to remind them of the rules.

01/18/2024   Jill Connors   Prepare Notice of Intent to File Reply Brief; Exchange          0.50   $225.00     $112.50
                            emails regarding permission to sign for Mr. Knapp; Efile
                            Notice.

01/18/2024   Jill Connors   Receive Order regarding extension of time; Calendar revised     0.20   $225.00      $45.00
                            dates with reminders.

01/19/2024   Jill Connors   Prepare Drobpox folder of all documents produced by             0.30   $225.00      $67.50
                            CCBOER; Send link to Ms. Marks.

01/21/2024   Cary Ichter    Exchange emails with Ms. Marks, Mr. Knapp, and Mr.              0.80   $625.00     $500.00
                            Sparks; Review emails from Mr. Perkins to see what
                            challenged claims of privilege have not been dropped.

01/22/2024   Jill Connors   Proofread, edit, and finalize Motion for Further Extension;     0.60   $225.00     $135.00
                            Efile same and update client file.

01/22/2024   Jill Connors   Receive Defendant's Response to Request for Further             0.10   $225.00      $22.50
                            Extension and update client file with same.

01/22/2024   Cary Ichter    Exchange emails with Ms. Marks and Mr. Maguire; Prepare         1.30   $625.00     $812.50
                            motion for extension of time to object to privilege
                            designations.

01/23/2024   Cary Ichter    Review Coffee County Response to Motion for Further             0.30   $625.00     $187.50
                            Extension of Time; Email to Ms. Connors regarding reply
                            notice.

01/26/2024   Jill Connors   Receive and review Doc. 50 regarding extension of time;         0.20   $225.00      $45.00
                            Adjust calendar to reflect extension and distribute; Update
                            client file.

01/26/2024   Cary Ichter    Review Court's Order; Transmit same to client; Exchange         0.50   $625.00     $312.50
                            emails with Mr. Knapp.

01/28/2024   Cary Ichter    Various communications with Ms. Marks regarding privilege       0.30   $625.00     $187.50
                            issue.

01/29/2024   Jill Connors   Proofread, edit and finalize Motion for In Camera Inspection;   1.10   $225.00     $247.50
                            Exchange multiple emails with Ms. Marks and Mr. Ichter;




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                                                                                                       Invoice # 2486 - 02/05/2024




                               Prepare Exhibit A; Efile; Send courtesy copy to Mr. Perkins;
                               Review follow up emails sent between counsel.

01/29/2024     Cary Ichter     Prepare and exchange multiple emails to Mr. Perkins;                  3.80     $625.00    $2,375.00
                               Exchange multiple emails with Ms. Marks; Prepare motion
                               for in camera review; Finalize same; Research privilege and
                               waiver of same.

01/30/2024     Jill Connors    Update client file with pleadings received.                           0.10     $225.00      $22.50

                                                                                              Services Subtotal         $11,625.00



Expenses

  Type           Date                                    Notes                                 Quantity       Rate        Total

Expense       01/11/2024      PACER: Pacer Q4 23.                                                   1.00       $28.30      $28.30

                                                                                          Expenses Subtotal                $28.30


                                                                                                      Subtotal          $11,653.30

                                                                                                           Total        $11,653.30




Detailed Statement of Account

Other Invoices

       Invoice Number                Due On               Amount Due               Payments Received                 Balance Due

1083                                06/04/2023                     $688.10                                 $0.00          $688.10

1808                                12/09/2023                   $20,885.26                                $0.00        $20,885.26

2046                                01/05/2024                   $28,236.38                                $0.00        $28,236.38

2403                                02/08/2024                   $14,869.45                                $0.00        $14,869.45


Interest On Other Invoices

       Original Invoice              Due On               Amount Due               Payments Received                 Balance Due

1808                                01/09/2024                        $0.11                                $0.00             $0.11

2046                                02/05/2024                        $0.50                                $0.00             $0.50

1808                                02/08/2024                        $0.11                                $0.00             $0.11

2046                                03/06/2024                        $0.50                                $0.00             $0.50




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                                                                                                      Invoice # 2486 - 02/05/2024




 1808                              03/09/2024                        $0.11                              $0.00              $0.11

 2403                              03/10/2024                        $0.01                              $0.00              $0.01


 Current Invoice

        Invoice Number              Due On               Amount Due                Payments Received              Balance Due

 2486                              03/06/2024                  $11,653.30                               $0.00         $11,653.30

                                                                                       Outstanding Balance            $76,333.83

                                                                                Total Amount Outstanding              $76,333.83




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                                                                 Invoice # 2486 - 02/05/2024




Ichter Davis LLC                                                       INVOICE
400 Interstate N. Parkway SE, Suite 860                                     Invoice # 2486
Atlanta, GA 30339                                                         Date: 02/05/2024
United States                                                           Due On: 03/06/2024
Phone: 4048697600
EIN: x-3699
Email: ddavis@ichterdavis.com
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